          Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 1 of 47 PageID #:101


    FIL ED
                                                                                                    reference that section.]
               [lf you need additional space for ANY section, please attach an additional sheet and

                                         BG
      /2020
                                                                                                                                                            i




      1/8
                        N       UNITED STATES                 DISTRICT COURT
   THOMA.SDG . BRUTO       U RT                                                                                                             )[//
           IS T R IC T C O
                         FOR TIIE NORTHERN                    DISTRICT OF ILLINOIS                                     {:.
CLERK, U.S
                                                       EASTERN DIVISION                                                                     1:-^\.!
                                                                                                             ei                         ;i     ,'.   -l:.::,7

   Knrno-                   @i                                    )



                                                                             CTVL ACTION
   (Name ofthe plaintiff or plaintiffs)

                          V.
                                                                          l:19-cv-06901
                                                                          Judge Robert W. Gettleman
    Srao ro raoiltu 6KrLL                                                 Magistrate Judge Jeffrey Cole
   rilrrm\ *oo                 D                                   )
                                                                   )

                 TtcNaS                             L^NC


                               COMPLAINT OF EMPLOYMENT DISCRIMINATION

   1.    This is an action for employment discrimination.

   z. Theptaintinis lGrnn-i- rn' D nrrrnJ                                        I                                                 of the

   county   or CPola                                                      in the state    of     tLLt fl Otg
   3.    The defendant          is Yt tr,./) t o          I-NEV t E 6RttU                                                         , whose

              zto \rrsr- gle
   srreetaddressis                                                        s-rneaz
   (ciry)CAiCA6O (county) Cooil(.              \[rrl0t S                 (state)                         1zrrl    6otZ0
    (Defendant's telephone number) Of2) - +ZD -tl+16

    4.   The   plaintiff sought employment or was employed by the defendant at (street                               address)


         Ltb \NGf; 87fl                          StR€il                                    (citv)C

         lcounty)         OoDK             (state)tLlrr\o6             (ZIP code)    boGzo




                 [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
           Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 2 of 47 PageID #:102
                                                                                                  and reference that section.]
                 [lf you need additional space for ANY section, please attach an additional sheet


     <2\

5.       The plaintifflcheck one                boi
         (a)   tr             was denied employment by the defendant.

         (b)   tr             was hired and is still employed by the defendant.

         (c)   tr             was employed but is no longer employed by the defe,ndant.


6. The defendant discriminated against the                            plaintiff on or about,       or beginning on or about,

          (month) N             ove t,,,1   eR, @uy)-|-,                 (v"ui-Z!/6-.

7   .l         (Choose paragraph 7.7               or 7.2. dq iot complete both.)
                              (a) The defendant is not a federal govemmental                    agency, and the       plaintiff        lcheck


                                    one     boxf   Jrotffiro,                    filed a charge or charges against the defendant

asserting the acts of discrimination indicated in this complaint with any of the following

govemment agencies:


                (i)            f]    ,fr. United States Equal Employment Opportunity Commission, on or about

                              (month)                           (dav)-                (vear)

                                                                                                                                 PD
                (ii) P               tf,.Ilinois     Department of Human Rights, on or about                        'SEFATT Aot4
                                rrrton*l tuk+f      2?           (du:o   A-tff-(year)-.                                 ?nur
         (b) ff charges were fiedwith                   an agency indicated above, a copy of the charge is


attached.                  XI vgs. fl               *O, but plaintiff will lile          a copy of the charge         within 14 days.

It is the policyof both the Equal Employment Opportunity Commission                                          and the    Illinois

Department of Human Rights to cross-file with the other agency all charges received. The
plaintiff         has no reason to believe that this policy was not followed in this case.



    7.2          The defendant is a federal governmental agency, and
                 (a) the plaintiff previously filed a Complaint of Employment Discrimination with the

                 defendant asserting the acts of discrimination indicated in this court complaint.



                                                                             2


                      [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
           Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 3 of 47 PageID #:103
                                                            please attach an additional sheet and reference that section']
             [lf you need additional space for ANY section,


     \-t

                             T           Yes (month)                                   (day)-              (yeat)


                             f,           No, did not file Complaint of Employment Discrimination

            (b)        The ptaintiff received a Final Agency Decision on (month)
                       (dav)                   (vear)

            (c)                --
                       Attached is a copy of the

                       (i)    Complaint of Employment Discrimination,

                              E                fl     *o,    but a copy will be fiIed within 14 days.
                                    "tt
                        (ii) Final   Agency Decision



                              fl ,tt            tr     No, but a copy will         be filed    within    14 davs.




8.          (Comptete paragraph 8 only                if defendant is not afederal governmental agency.)

             (r)n             the United States Equal Employment OpportunityCommission has not issued


                               aNotice of Right to Sue.

             (b)fl             the United States Equal Employrnent Opportunity Commission has issued a




                               Notice is atta'ched to this complaint.



 9.          The defendant discriminated against the plaintiff because ofthe plaintiff s lcheck only

              those that applyf:


              (u)fl        Age (Age Discrimination Employment Act).

              (b)f]          Color (Title VII of the Civil Rights Act             of 1964 and42 U.S.C. $1981).


                                                                        a
                                                                        J


                  [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
      Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 4 of 47 PageID #:104
                                                       please attach an additional sheet and reference that section']
        [lf you need additional space for ANY section,




       C)El"     Disability (Americans with Disabilities Act or Rehabilitation Act)

       (OX[      National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

       (.)X      Race (Tirte      vII of the civil       Rights Act of t964 and42              u.s.c. $lgsl).

       (0X       Religion (Title VII of the Civil Rights Act of 1964)

       (g)E       Sex   (Titlelll     of the Civil Rights Act          of 1964)

10.
                  Sqa A#n.tteD                       7   ad{
       If the defendant is a state, county, municipal (city, town or village)                       or other local

       governmental agency, plaintifffurther alleges discrimination on the basis of race, color,

       or national origin (42 U.S.C. $ 1983).

11.    Jurisdiction over the statutory violation alleged is conferred as follows: for Title                             VII
       ctaims by 28 u.s.c.$ 1331,28 u.s.c.$1343(a)(3), and42 U.S.C.$2000e-s(f)(3); for

       42 U.S.C.$ 1981 and $1983 by 42 U.S.C.$ 1988; for the A.D.E.A.by 42 U.S.C.$12117;

        for the Rehabilitation Act,29 U.S.C. $ 791.


12.     The defendantlcheck only those that apply)


        (")I           failed to hire the plaintiff.

        (b)El          terminated the plaintiff s employment.

        (")El          failed to promote the plaintiff.

        (d)fl          failed to reasonably accommodate the plaintiff s religion.

        G)EI            failed to reasonably accommodate the plaintiff                   s   disabilities.

        (0xl            failed to stop harassment;

        GiX             retaliated agains t the plaintiff because the plaintiffdid something to assert
                        rights protected by the laws identified in paragraphs 9 and 10 above;

        (h)[            other (specify):




                                                                4


          [lf you need additional space for ANY section, please aftach an additional sheet and reference that section.]
      Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 5 of 47 PageID #:105
                                                                                    sheet and reference that section.]
         [lf you need additional space for ANY section, please attach an additional

 a*     al




13.     The facts supporting the plaintiff s ciaim of discrimination are as follows:




t4.     IAGE DISCRIMINATION ONLY\ Defendant knowingly, intentionally, and willtully
        discriminated against the plaintiff.

15      The plaintiff demands that the case be tried by                     a   jury.   ffi VeS n              *O

16       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that applyl


      (")n             Direct the defendant to hire the plaintiff.

      (b)I             Direct the defendant to re-employ the plaintiff.

      (")E             Direct the defendant to promote the plaintiff.

      (d)I             Direct the defendant to reasonably accommodate the plaintiff                        s   religion.

      (")tr            Direct the defendant to reasonably accommodate the plaintiff s disabilities.

      (0tr             Direct the defendant to (speciS):




                                                                    5


             [f   you need additional space for ANY section, please aftach an additional sheet and reference that section.]
        Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 6 of 47 PageID #:106
   .         [lf you need additional space for ANY section, please attach an additional sheet and reference
                                                                                                            that section.]


 r-,-
         -




  te)K               If available, grant the plaintiff appropriate injunctive relief, lost wages,
                     liquidated/double damages, front pay, compensatory damages, punitive damages,
                     prejudgment interest, post-judgment interest, and costs, including reasonable
                     attorney fees and expert wifiress fees.

   G)E[               Grant such other relief as the Court may find appropriate.



   (Plaintiffl s signature)



   (Plaintiff s name)

        1(arnaf                ,/n- 2n mnfi
   (Plaintiff       s street address)

        7 7o 4 Saanl mEKtl(a                                     ,\{ol*{
         ArT-        # r-5
(city) Clrcn6o                            (State)    llhy'ats (n\6oiLo
(Plaintiff s telephone number)               OJA       - 73/'7783

                                                                                  Date: to\te\zrr1




                                                                    6


              {lf you need additional space for ANY section, please attach an additional sheet and reference that section.l
       Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 7 of 47 PageID #:107


 (-'
        -
Section 7.1 continued



The Illinois Departnent of Human Rights on or about December 21,2017.
     Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 8 of 47 PageID #:108


  \.T

Section 9 continued


Damani alleges the above and statutory claims altematively pursuant to Federal

Rule of Civil procedure 8(d).


                          Defendant Employer Retaliation
                              State Law Claim

   1. This court    has supplemental jurisdiction over this claim pursuant to 28
              ,




U.S.C. section 1367.

   2. Plaintiff Damani realleges the other paragraphs of this complaint including

section 13.

   3. Damani      engaged in protected activity as set forth in section 13 herein. He

reported to management of the employer theft by employees and filed

administrative proceedings complaining of wrongful employer conduct.

   4. The defendant employer took retaliatory action as set forth in section 13
herein.

    5. This retaliation   was against the provisions of federal and Illinois statutory

law and Illinois public policy. Theft by employees are illegal in Illinois and

negatively affects the financial situation of the employer.

    6. As a result Damani suffered damges.
       Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 9 of 47 PageID #:109


 \t

 Section 13 continued


                          BACKGROUND FACTS


      1. Damani incorporated by reference the two     Illinois Deparbnent of Human

Rights (DFIR) complaints attached hereto. The IDHR mistakenly referred to a

broken right leg-Damani only suffered abroken left leg.


      2. Atall relevanttimes Damani was a member of a protected class. His national

origin is Indian and his race is Asian.


      3.   At all relevant times Damani suffered from a disability.   He was a diagnosed


with bi-polar disorder and depression. The defendant employer knew of this

disability from the time Damani applied for the job. His state identification card

displays disabled.


      4. The employer was also informed of Damani's diasabilty bV his filing a

charge with the Illinois Deparhrent of Human Relations in March 2017. This

physical and mental disability substantially limited one or more of Damani's major

life activities.


      5.   In addition Damani suflered   a broken left leg in June 2016, of which the


employer was aware. This disability substantially limited one ormore of Damani's

major life activities.
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 10 of 47 PageID #:110




   6. At all relevant times Damani satisfied the prerequisites of his   job. Damani

with or without a reasonable accommodation was qualified and able to perform the

essential duties and functions of his job. Damani adequately and competently

performed the duties of his job and met his employer's legitimate job guidelines

and expectations.


   7. Atvarious times Damani engagedin protected activity. In November 20L6

he reported to company management that there was theft occurring at the company

as detailed   below. In midflate March   2Ot7 Damani   filed a complaint with the

Illinois Deparbnent of Human Rights (IDIIR),     case number   20l7CF 2077.He

complained about a failure to accommodate his physical disability and mental

disabiliry. Damani also alleged he was subject to discrimination based upon his

national origin (from India), race (Asian) and physical and mental disability (bi

polar, depression, broken left leg). This discrimination tookthe form of a

reduction in hours to be worked by   him. The complaint further    set   forlh

retaliation. On December 21,2017 Damani filed       a second complaint with the


IDHR and EEOC,

   8. At all relevant times similarly situated non-Asian employees and employees

not of Indian national origin were treated more favorably than Damani
    Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 11 of 47 PageID #:111


  -D

  9. The individual   defendants Brian Hood, Aaron Thomas and Charles Lane

were in management positions with the employer. They were aware of the below

occrrrrences and took no corrective actions. They allowed the occurrences to

continue.


   10. Brian Hood was a director, Aaron Thomas was a general manager and

Charles Lane was a manger.


   11. The employer management often witressed the harassment and bullying of

Damani by coworkers. The employer's human resource employees were aware            of

the bullying and harassment and no corrective action was taken; they allowed

harassing coworkers to work alongside Damani.


    12. As a result of the below occurences Damani was subject to a severe and

pervasive hostile work environment which interfered withthe performance of his

job duties.

                                SUBSEQUENT FACTS


    13. Damani was hired on     April L,2016 to work   at the Chathaln movie theater as


 a runner by general manger Venisha Johnson (Johnson). The duties were
                                                                             janitorial

 in nature including cleaning the 14 individual theaters within the movie complex

 and puttin g away inventory.
     Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 12 of 47 PageID #:112



.\      ?
     14. On June 21,2016 Damani suffered    a   broken left leg as a result of an

accident in his home. He immediately called Johnson who said he should take his

time in recovering. Johnson said that the employer would change his job to an

usher (taking tickets) and would provide him a chair. Lr fact the employer initially

provided this accommodation. Later the employer took away the chair.


     15. In late August Damani returned to work with a doctor's note. By that time

there had been substantial changes in the employer's management. Johnson

became event manager. The new general manger was Steven Bukus (B"kus).

There were new directors, Gary van Gundy (van Gundy) and Brian Hood (tlood).

The employer's name was changed to Studio-Movie-Grill (SMG). SMG started a

major renovation of the theater.


     16. About two months after Damani returned to work, againstthe

accoflrmodation the employer promised and initially provided and the employer

forced Damani to clean the theaters, requiring him to climb and descend stairs. The

employer, specifically Steven Bukus the general manager at the time, took away

the chair that had been provided to Damani completely ignoring his doctor's note

which he had shown to the employer and contrary and against the accommodation

promised by the employer and initially provided by the employer.
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 13 of 47 PageID #:113


 rl!
                           REPORT OF TIIEFT


   17. In November 2016 while he was working as an usher Damani reported a

theft at the employer to manager Martha Hernandez (Hemandez) andBukus. Part

of Damani's duties as an usher was to have customers show him their tickets to

enter the theater. Damani told Hernandez and Bukus that managers and other

employees were stealing money by providing falsified tickets to the customers.

Damani showed them copies of tickets showing no      paymerri-tit   going into the

theater for free. The tickets, by means of a digital numeric code, would falsely

state that the ticket was a manager's or employee   ticket. Bukus questioned

Hernandez aboutthis. Hernandez denied that she took part in any such activrty or

knew about any such activity.


   18. Later that day   HernandeztoldDamani that he should not have told Bukus

about the thefts and that he should have talked to her instead. Da:nani replied that

he did not want the wonderful company that he really liked worked for to be taken

advantage of. That is the reason he told Bukus about the thefts. Damani also told

Hernandezthathe had applied for a management position and that he wanted the

chief executive officer Schultz to have trust in him.


                    REDUCTION IN ASSIGNED HOURS
      Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 14 of 47 PageID #:114




     19. Thereafter Hernandezwas angry with Damani.          She was in charge   of

Damani's work schedule. Previous to this set of conversations the employer would

assign extra hours to Damani    if   another employee did not come to   work. After the

above conversations, the employer did not assign Damani any such extra hours

when employees did not come to work.


     20. Another manager Charles Lane told Da:nani that doctors will write anything

in a note and that the doctor's note that Damani had given to the employer looked

as   if it had been written by a child. He implied the note was fake. Lane also

refused to allow Damani to work additional hours when other employees did not

come to work.


      2L. Atthis point in time the managers, their friends   and relatives and other


employees were angy with Damani. Hernandezhadspread the word of Damani's

compliant about thefts to Bukus and her. The company reduced Damani's hours of

work. When he complained to a manager he was told that he did not know about

Damani's schedule and that he should talk to Hemandez. When Da:nani spoke to

 Hernandez she told him to talk to Bukus. Bukus in turn told Damani to speak to

 Hernandez. Tlte employer to no corrective action.
      Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 15 of 47 PageID #:115




  ZZ. At this point in time Damani     had been working at the employer for almost

one year. However, newer employees      with less seniority were unfuitly being

assigned by the employer more hours.


      23.I1January-February   ZOLT   three coworkers and Damani were scheduled to

work beginning arorurd 10:00 am. No managers were present. Customers/guests

were tining up -the film was supposed to begin at 10:30 am. No one had keys for

the   office, concession stand or box office register. The customers/guests were

getting furious so Damani tried to calm everyone down. Damani worked as an

usher on weekends and knew which theaters he could direct customers/guests to.

Damani called    a manager   who blamed another manager for not opening the theater

for business. The employer did not thank or acknowledge Da:nani's efforts to

defuse a tense situation with angry customers/guests.


      24. Atthis point in time construction   was proceeding on the theater premises


 and the construction workers had keys to the premises. Generally only managers

 had keys.


      25. Atthe end February-early March 2OI7 the employer completed it

 remodeling. The out of town corporate employees (headquarters were in Dallas,

 Texas) came to the theater to train employees including Damani. Damani's

 managers and co-workers knew Damani was a very diligent and hard worker.
                                                                          The
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 16 of 47 PageID #:116




corporate employees from Dallas as well as Bukus and the directors Hood and van

Gundy were aware ofDamani's capabilities and work ethic. Th.y were aware that

Damani's family included several entrepreneurs and very hard workers with good

work ethics.


   26.Damam personally worked worked with the employer's corporate personnel

when they visited the Chicago facility.


    27. Darrrani devoted his efforts and energy to the employer since the first day

of his employment since he really loved the company and he looked forward to

ultimately retiring from the company. Damani was apeople person and enjoyed

working with people.


     28. The employees celebrated the grand reopening of the theater. The Texas

employer trained the employees including Damani through all phases of duties and

responsibilities. Even though Damani was an usher, it was necessary for him to

learn the box office, kiosk, concession stand and other responsibilities and duties.

There were only two other employees beside Damani who knew how to make

coffe'e on the new Gevelai Coffee maker.


               EMPLOYERLEAVES DAMAM OFF WORK SCTMDULE

     29.   On March   5,zAfi   Hernandez, Bukus and Damani met with Director

van Gundy. Hernandez maliciously threw her set of keys on the desk where van
      Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 17 of 47 PageID #:117


 Il



Gundy was working on the computer. She threw the keys right next to van Gundy

startling him. Hern andezstarted crying. Bukus told Van Gundy Damani was going

to be sent home for being insubordinate. Van Gundy pleaded to Bukus and

Hernande     z, saylng"Martha don't send Ka:nat [Damani] home."     Nevertheless

Damani was ordered home and left the premises.


      30. Thereafter the employer company completely left Damani off of the

schedule for upcoming work.


                           DAMANI FILES IDI{R COMPLAINT

      31. In mid/late March   20L7 Da:nani fi1ed a complaint with the   IDHR case

number 2017 CF 2077. Among other allegations Damani complained of

discrimination based upon disability, national origin and race.


                 BULLYING AND HARAS SMENT/IIOSTILE WORK
                             ENVIRONMENT
      32.   Tlrte employer company management   told employees that Damani    had
                                                                                      .


reported that managers and his co-workers had been stealing from the company

and spread rumors. Damani's co-workers bullied and harassed him with the

knowledge of management. On many occasions mangers witressed these activities

and did nothing to stop these activities; at times the mangers joined    in. Damani

reported this bullying and harassment to the employer Human Resource

 department and management, including that a certain very physically large co-
       Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 18 of 47 PageID #:118


  It



worker has assaulted him. No corrective action was taken by the employer. The

employer took no corrective action      as   to bullying and harassment since it desired

Damani to quit. A general manger told Damani that maybe he needed to find

another job with another company.


       33. There was continued verbal and physical abuse and harassment (including

calling Damani names) and the working environment was hostile and ursafe.

There was a severe and pervasive hostile work environment which interfered with

Damani's performance of his duties. Damani informed the employer of this fact

but the employer took no corrective action.


                               RETALIATION

       34. The employer retaliated   against Damani by passing him over    for

promotion. Other less qualified employees who were employed by the employer

company for much shorter periods of time were promoted to positions          of
supervisor and manager instead of Damani. These other employees were not            of
Indian national origin and not Asian. Damani was fully qualified and able to

perform the duties of the requested positions, and satisfied the prerequisites     of
these positions


       35. Damani wrote a letter dated August 19,20t6 to Brian Schultz, CEO of the

employer comp€uly regarding his applying for a management position. For no valid
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 19 of 47 PageID #:119




or legal reason Damani was denied the promotion while other less senior less

qualified employees received promotions. These other employees were not         of

Indian national origin and not Asian.


   36. At the end of August   2017 there was a major thunderstorm and all of the

electricity for the theater was cut off. Damani was an usher that night. When the

electricity went down the audience left in a rush. Damani called for help in dealing

with an angry mob but no managers or other employees came to assist him.

   37. Damani also continued to be harassed     and humiliated in front   of

customers/guest. Company management was aware of this but took no action. In

fact employer managers often witressed these occulrences.


   38. Damani also continued to be unjustly written up for    supposed infractions.

Company management was aware of these occrlrrences but took no action.


    DAMAM FILES SECOND IDIIR CAOMPLAINT AND SUBSEQUENT
                                        ACTIONS
   39. On December 21,2017 Damani filed a second complaint with           the   IDHR

and EEOC, case number EEOC 2lB-20t8-00432.          A copy of this complaint is

attached hereto. Among other matters Damani complained of discrimination based

upon race, national origin and disability and alleged retaliation


  40. After the filing of this complaint   the harassment continuedwith

management's knowledge. Management took no corrective action.. Management
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 20 of 47 PageID #:120




refused almost all of Da:nani's requests to work when another employee could not

come   in. Management allowed   other employees to substitute instead ofDamani.

These other employees were not of [rdian national origin and not Asian.


  41. On March    13, 2018 Damani was physically attacked and beaten up by a

druxken belligerent movie guest. The employer company security staff and

management did not come to his assistance for over one and one half hours. There

is a video tape of this incident from 830 pm   to   10   pm. The manager sent Damani

home. On March    t4,20I8 the Company infonned Damani that he was under

investigation regarding that incident. Damani was under investigation fortwo

weeks and therefore could not work.


   42. OnApril   6, 2018 company director Hood called Damani stating that he was

terminated for allegedly not following company rules and regulations in

connection with the incident. Confuary to Hood's statement, Damani in fact

followed company rules and regulations (including calling        a   manager and

securiry). For over one and one half hours Damani had been calling his

supervisors. This was the second time the employer company put Damani in a

dangerous situation wherein he had to deal unassisted with angry guests even

though Damani had asked for help. The first instance was during the thunderstorm

alleged above.
   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 21 of 47 PageID #:121




  43. At the end of May 2018 Damani filed a third complaint with the EEOC,

2LB-2018-01337. A copy of this complaint is attached hereto.
                   Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 22 of 47 PageID #:122
EEOC Form 161 (11/16)
                                  U.S. Eount Erup lovrrlENT OPPoRTU NlrY Gotrlru lsslor't

                                               DrslussaL AND Norlcg oF RGHTS
           I




                                                                                    From: Chicago District Office
To:   Kamat M. Damani
                                                                                          230 S. Dearborn
      7704 S Emerald Ave
                                                                                          Suite 1866
      Chicago, lL 60620
                                                                                          Chicago, lL 60604


                           On behall of person(s) aggrieved whose identi$ is
                            coNFtDENTtAL (2e CFR      5i601.n--
                                                                                                                    Telephone No.
EEOC Charge      No.                          EEOC Representative

                                              Grace Gountanis,
                                              Investigator                                                          (312) 872-9684
218-2018-01337
TH E EEOC IS CLOSING ITS FILE ON THIS GHARGE FOR THE FOLLOWING REASON:
      tf         The facts alleged in the charge fail to state a claim under any of the statutes enforced
                                                                                                          by the EEOC'



      n          your allegations did not involve a disability as defined by the Americans With Disabilities Act.


      n          The Respondent employs less than the required number of employees or is not otherwise
                                                                                                       covered by the statutes'


      tl         your charge was not timely filed witir EEoc; in other words, you waited too long after the date(s) of the alleged


      r          discrimination to file your charge

                 The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to
                 information obtained establishei
                 the statutes. No finding is made
                                                  violations
                                                  as to any
                                                             of the
                                                            orher
                                                                    statutes.
                                                                  issues that
                                                                              tnis
                                                                              might
                                                                                    does
                                                                                     be
                                                                                          not certify
                                                                                        construed   as
                                                                                                      that the respondent is
                                                                                                                              conclude that the
                                                                                                                             in compliance with
                                                                                                        having been raised by this charge.

      tl         The EEOC has adopted the findings of the state or local fair employment practices agency that
                                                                                                               investigated this charge.


      tf          Other (brieftY state)



                                                        - NOTIGE OF SUIT RIGHTS -
                                                  (See lhe additional information attached to this form.)

Tige Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
                                                                                                                   send you.
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will
you may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
                                                                                                           charge will be
lawsuit must be filed WiIHIN-9qW, of your receipt of this notice; or your right to sue based on this
iost. (The time limit tor titing6uit OaseO on a claim under state law may be different.)

                                                                                         years for willful violations) of the
Equal pay Act (EpA): EpA suits must be filed in federat or state court within 2 years (3
attlgeO fFR unierpayment. This means that backpay     due  for any violations   that occurred   more than 2-vears (3 vears)
before you file suit may not be collectible.




 Enclosures(s)
                                                                                                                      /r    (Date Mailed)



           STUDIO MOVIE GRILL
           c/o Heidi H. Harrison
           Ogletree, Deakins, Nash, Smoak & $iewart, P.C.
           8117 Preston Rd., Suite 500
           Dallas, TX 75225
                                  (i
             Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 23 of 47 PageID #:123
               CI{ARGE CF DISCRNMXNATION                                                        AG ENCY                     CHARGE NUNIBER
   This form is affected by the Privacy Act of 1974: See privacy act
   statenlent befort completing this form.
                                                                                                X     IDHR
                                                                                                                            20t8cE2332
                                      # 18W0514.08                                              n     EEOC


                                               Xllinois Departrnent of trIuman R_ights and EEOC

   NAME OF COMPLAINANT (indicatc Mr. Ms.                   lVlrs.)                                                  TELEPITONE NUI\IBER                (inctucte ,.un
                                                                                                                                                                        "odul
    Kamat M- Damaui                                                                                                  (773) 934-9953
   STREET ADDRESS                                                     CITY. STATE AND ZIP CODE                                          DATE OF BIRTII
    7704 S. Emerald Avenue,               Apt.l-ts                    Chicago, trl-linois 60620



                                                                                          NUMBEROF
                                                                                          EMPLOYBES,
                                                                                          MBMBERS 15+
   STREET ADDRESS                                                    CITY, STATE AND ZIP CODE                                              COUNTY
    210 W. 87th Street                                                Chicago, Xllinois 60620                                               Cooli
   CAUSE OT'DISCRIMINATION BASED ON:                                                                               DATE OI- DISCRIMINATION
                                                                                                                   EARLIEST (ADtrA/EPA) LATEST (ALL)
         Natioual Origin Race Disabitity X'{.etaliation
                                                                                                                   3/L3t18       4t6t1B
                                                                                                                       CONTINUING ACTION
   THE PARTICULARS OF THE CHARGE                             AP.:A   AST'OI,T,OWS




                                                              StrE ATT',4.CHED




          lofT
 I also 'rvant this charge filed rvith the EEoc. I rvilr advise the agencies if I   S{IESCRIBED AND SWORN TO BEFONN NTT
 clange my address or telephone number and I will cooperate lully rvith
 them in the processing of my charge In accordance rvitli their procedures.         TIIIS     47        DAYoF                                               ,   &ol8
                                                                                    NOTARY SIGNAT{IR"E

                 $            pArnicrA   ALMARAZ              h
                $             official Seat                   H                                                                                 |   .'?z'
                (    Notary pubtic r State of illinois        K
                                                                                    x_                                                          Z-
                                                ,18,2021
                { Yf Com.ission Expires sep                   t\                    Str                 OF              [,AINANT                            DA
                                                              i                     I declare under penalty that the foregoing is true and corrcct I s\ieilr or
                                                                                    affirm that I have read the above charge and tlrat it is truc to the hcst olml
                           NOTARY STAMP                                                         informltion and bclicf
EEO-5 FORIVI (Rev. 7i12-tNT)

                               I
Case: Charge
      1:19-cv-06901  Document #: 11 Filed: 01/08/20 Page 24 of 47 PageID #:124
              Nunrber: r r r r"OrO i Ulr.rrz
      Complainant: I(arnat
                              M. I)arnarri
      Page Z of 7

            I.          A.        ISSITE/tsASIS
                                  SUSPENSION             * MARCH             75, iOIB,I]BCAUSE
                                                                                                          0ii      ntr     \, x{,\CIi,,.\slr\N
                        B.       PRIMA Ir,AgIE ALI_EGATrONS
                                 I.   N{1,   rflce rs Asian.

                                 2. MV lvorl< perfor.nlance
                                                             as usher/runner-
                                                                         urlfiel'nret
                                    rvas hired on z\pril                          nret I{
                                                                                       r{eslr,lrtlerr!'s crtrrccfati,lr.s.
                                                         trzo-i;.""'grrr                                                                                                .[

                                3. On March 13,20lg,I
                                                                      lvas   sr,

                                      3 [T T:,;,   ili   f,: :'# I]H'ffi                                                   ,lilJl;   ] I l'        i; ..,
                                                                         :T,T*              U#:*l:;:fl                                        ii            e a ]. (,   r,
                               4' similarly
                                          situatcd non-rtsian
                                                              eniproyees lyere tr.cirtcrr
      II.           A
                                                                                          lilul.t                                    rier.or.atrrr1,.
                  fl.          ISSUE/BASXS
                                                         NrAItcH t3, z'tB,EEcAUsE
                               8Hi#ff'fil-                                                            o, nr'               N,\.r,!oh-irx_
                  B.          PRIMA FACIE A I,LEGATIONS
                              1. My nationat u.igiJr-iril;,,,

                              2, My worl< per{brmance
                                                            as usle
                                 rvas hircd on      April 7rzlt6. r/l'ttnner r,et ftesp.*rlerrt's ..\l)cctirtio,s.                                             !

                             3. On March         13, Z0lB,   X    rvas susn,

                                 H; H; lii,*i n T#i#jx;f#,                                            :rr,i ffi ;tl :,,; 1,,,
                                                                                                                   r   :
                                                                                                                                                   ,.
                                                                                                                                                        ",,,,,,
                             4. Similarly     sitrr:rtec! eruployees
                               treated more foroaot               _uo ryhose
                                                                      rvrroSe       nrri^-^! origirr
                                                                                    national ,._-: .
                                                                                                            t:r-   rrol tr,r!ia r'crc
                                                             iVr*.7


uI.           A
             n.          ISSUB/BASIS

                         f,HiffiHi8il_ NrA*cH 73,2018,BE.AUSE                                  orr     &,n\,   tr),s,\ri*.i"r            ,!..

            ts.          PRIM.A. FA CIT! AI-X, II
                                                  GAT'IONS
                         ' #ffx,:iviclual                "'*r'
                                                                  l-Jir^i,itig'    as   crefi,cd   b.y frrc truirr,i,,-        rxrrrr,rr
                        '2. Respondent
                                       ryas alyare               of.ln1, ctrisabili[..
                        3.   N11' ryol-Xi pcr.fbl-nralcc
                                                         i!s rrsliel./rr
                             lvas lrirecl on Apr-il 1,201(). 'lilIrer ntet -[tespotltlcll['s t'.rxrecia{iolrs.
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 25 of 47 PageID #:125
    charge Number: zo r s lrzor sJlrzsgz
    Complainant: I(amat M. Danrani-- -
   Page 3 of7

                              4' on Nrarch 13,z0rg,I lvas s,soc.nde,
                                 disatrilify), f)irector. nna                by Briarr ,rocr (r, ri.r*,,,
                                                               ar.in.ffronr*, 1"rrl_r,,r,r,,), (Jtrit,r.rr!
                                 Thc reasolr given ,nm tru"*rl",ln                                          i\,1:rnir1itr..
                                                                          pencling invcsfiutlir.rrr.
                              5' My disarrilify is unl'elatecr to
                                                                  ,ry arr*ity to perro.nr r*\,.iurr.
      IV.         A.         ISSUE/tsASIS
                             SUSPENSION _ I\4.ddrcxt
                                                            r3, _v^o,
                                                                2018, ulr\_.rruD.r1'
                             BI_ poLAR DISOFtDITtrt -_'               IIECAtrJSE Lrn,,t\tr\,
                                                                                     olr t\ I)lsdtjlX,l'j \.,

                  E.         PRIMA FACItr AI-I-XIGATI ONS
                             ' fff;H:iviclual *ltr' u tri'Jnififv as delirecr rrr'(trrc uJirois ryur,arr
                             2. Responclent     rvas ,twilre o{.my ctisability.

                            3. My rvork perlbrnrarlce as ustrrer/
                                                                  l'ulrner nlet          l{esporttln. rrt's crgrt'ctatior:s.
                               lvas hired on April 1,2076.                                                                                  tr




                            4' on Marcrr 13,201g, r rva-s suspcndecr
                                disabi[fy), I)irector.      a,ctr Aar-on Thomas
                                                                               rry   Brian lr,.rrt    (., Iuro**
                                The reason given                                 rnrr,_rri,i,r), (,,c,r:r.,r J\,xa,,gcr..
                                                       lv:rs because of a penrling
                                                                                   invcstigrri,rr.
                            5' My disarr,ity is unreratc,       to nry ab,ity to per-{br*r
                                                                                           ,r"r .!rrr.
 V.          I
            ft.             ISSUE/tsASIS

                         ;Hiffir{8il ;ff,+ffi,l              tr3, 20   rB,r}EcAUsE otrl           }
                                                                                             Ni       I)   ri.;,\ tr}, {, r   tr   \,
            B.          I'RIMA FACII'          Atr,   I,EGATI ONS
                        ' iJffHr:ividtrar rvitrr a.urrlirir, as crefined bl.rrre ilriarois [tr*rriirr
                        1
                             Responclent u,as illyarc of rny
                                                             clisability..

                             1\{y lvorl< perfot'ntaricc :rs
                                                            ushcr'/run,c' nret ftespullrtrrr ( ,:; cllrccIilrirris.
                             ryas Irirecl on April 7,2(J16.                                                                             r


                       4.    on &far"c, 13,2018, I rvas suspendecl b.l
                                                                       Briari Iio,ttr
                             clisability)' I)il'cctot.' anri Aaron I'honras                   (ri, lrr,rr'
                                                                              (no,-trrrriiil;, {,Ju,.cr.;li rrrlrilger..
                             T'he reilson given rva's bccil,r.
                                                                 ,r r, f"r,di,g i,vcstigu{i,rr.
                       5. My disability.is rrnlela{cr! to lnl, abilitl,
                                                                        to grcr.I.,rtp       pr1 i*irr
                                                                     '   - "t
                     Document #: 11 Filed: 01/08/20 Page 26 of 47 )PageID #:126
 Case:
 Charge1:19-cv-06901
         Number:       20t8cr;;r#r,zssz
 Complainant: Karnat M. Damani
 Fage 4 of 7

 VI. .A..        ISSUEIBAStrS
                 susPENSroN - MA-RCI{ 13, 2018, BECAUSE oF My DrsABrLITy,
                 FRACTURTD RIG}IT LEG

       B.        PRTMA FACXE AI,I,EGATIONS
                 1' I am an individual with a disatrility as clefined by the glinois
                                                                                     1lurnan
                    Rights Act.

                 2. R.espondent rvas aware of rny ciisability.

                 3. My work perforrnance as usher/runner met Responclent,s
                                                                           expectations. I
                    rvas hired on April l,2016.

                 4.
                      9l YtI.h 13,2018, I was suspended
                      disability), Director
                                                            by Brian ,{ood (no known
                                           and Aaron Thomas (non-xndiai, General
                                                                                   Manager.
                       The reason given lvas because of a pending investigation.

                5' My disability is unrelated to rny ab,ity   to perlbrrn   *y   job.
WX.    A.       ISSUE/BASIS
                SUS,ENSION _
                              ry$ICH 1.3,2018,rN RETALTATrON F.OR FTLTNG
                EARI,IER DIS CRIMINATION  CTIANCPS
      B.        PRIM,{ FACIE.4.LI,EGATIONS
                1' on April 13,2077,Igud charge #20t7CF2077 andon
                                                                          llecemb er 14,201g,
                   I fitred charge# 2018CF1178, afainst Responclent wiflr
                                                                                the truinois
                   Departrnent of tr{rlrnan R.ights.

                2' o:r March   13r2018, n lvas suspended by Brian lrood,
                                                                         Director. and Aaron
                   Thomas, General Manager. The reason given
                                                                 was because of a pending
                   investigation.

               3' The negative  employment action fbllolved the fiLing of ney cliscrimination
                  charges rvithin such a period of tirne as to
                                                               raise an inference of retaliatory
                      motivation

WII. A.        ISSUE/BASXS
               DISCTTAR.GE         -   APR-IL G,z}tB, BECAUSE oF Nt\.    hrdrloNAtr 0RIGIN,
               INDI,4

     B.        PRIMA FACIE ALX,EGATIOI{S
               1. My national origin is India.         :




               2' I!{y lvork  perforrnancc as usher/runner rnct R.cspondcnt,s
                  rvas   hired on April l,Z0t6.
                                                                              expectations.    I
    Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 27 of 47 PageID #:127
                             (1                                         l:
                                                                             ,,i
                              ..
                          ..,,..-.)                                                )

'   Charge Number: 2018CF2018CF2532
    Complainant; Kamat M. Darnani
    Page 5 of 7

                3. On .dpril   5, 2018, I was discharged by Erian Hoocl, (non-India), Director
                      and Aaron Thornas, (non-India), General N{anager. The reason given was
                      because of a physical altercation tr had with a custorner.

                4. Similartry situatecl ernpioyees whose national origin is not India lyere not
                     discharged under sirnilar circumstances.

    IX. A.      ISSUE/tsA.SIS
                DISCIIARGE           - AptUL 6,2A18, BECAUSE       OF   My RACE,          .ASIAN

         B.     FzuMA FACIE AX-,LtrGATIONS
                L. Mv race is Asian.

                2. NI;work perf,ormance as usher/runner rnet R.espond.ent's expectations. tr
                   was hir.ed on April X.,2016.

                3. On'ApriI             I lvas dischargecl by tsrian ltroocl, (uon-.4sian), Director
                                   6, 2018,
                      and Aaron T'hornas, (non-,4sian), General Manager. The reason given w.as
                     . because of a physicar artercation I had with a custorner.
                4. Similarly situated employees    whose race is not Asian lvere not
                      discharged under similar circurnstances.

    X.   A.     ISSUE/tsASIS
                DISCtrIAT{GE             APXR.IL   6, 2018, EECAUSE OF                 1VIY DXSAtsItr,trTY,
                DEPRESSION

         E.     PR.IMA FACIE AI,N,EGATIONS
                1. I arn an individual lvith disability as defined by the Itlinois nfurnan Rights
                   Act.

               n     trtespondent lvas alvare of my disability.

               3.    My lvork perf,orrnance as usher/runner met Respondent,s expectations. I
                     rvas hired on April 1,20L6.

               4.    on April 6,2018, n lvas discharged try Erian [Iood, (no know'n ctisability),
                     Director and Aaron Thornas, (no known clisabilify), General hnanag€r.
                     The reason given rvas because of a physical altercation I hac{ rvith a
                      custorner.

               f,.   My disability is urarelatecl to rny ability to perforn'r the essential {unctions
                     of my job,
                      (t.-.-.r. #: 11 Filed: 01/08/20 Page 28 of 47 PageID #:128
 Case: 1:19-cv-06901 Document
 Charge Number: 20f 8CF20f g*CfZSgZ
                                      )                                      ,/.   )

 Cor4plainant: Kamat M. Damani
 Page 6 of 7



 xI.     A.     ISSUE/BASIS
                DTS.HARGE                      6, 2018, BEC.ausE
                POLAR.       :frRtrtr'
                         DISOITDER.                                      o[i N{y
                                                                             ' DISAETLIT', BI-     I




         B.     PRIMA FACIE AI,I.E GATIONS
                t    an individual rvith disability       as delinert   by the illinois [Iuman Rights
                   l:f
                2. Respondent was aware of mry disability.

                3. My work performance as usher/runner met
                                                           f,{.espondentrs expectations. r
                   was hired on April l,20-16.

               4' on April          I was discharged by Erian rroocl, (no linonrn disab*ify),
                                6,20^l8.r
                  Director and -daron Thornas,
                                                1"i r.ngwn ai.uniuCi, General Manager.
                  The reason given was because'of a physical
                                                              alterc#on n had with a
                   custorner.

               5' My disabilify     is uurelated to my abirify to perfonm
                                                                          the essential functions
                  of rny job.

xII.   ,4..    ISSUEIBASIS

               Filffift?B *uff#L u, 2078, EEC.{{rsE oF Nry DrsABrlrry,
       B.      PRIMA FACIE ALI,EGATIONS
               ,.     an individuar rvirh disabiliry as defined
                                                                by the nuinois l{urnan Rights
                  ilf
              2. R.espondent was alyare of rny disabilitl.

              3' My lvork perforrnance as usher/runner        met tr-{esponclent,s expectations.
                 was hired on April l, 2016.                                                           tr




              4. On April 6, Z}LB,I r::., dischargecl by Brran
                                                               }ilood, (no knorvn disabitity),
                 Director ancl Aaron'nhomas,
                                              1n"o knolvn crisabilifyi, Gener.ar NIanager.
                 The reason given lvas because'of a phl,sical
                                                              altercation x had lvith a
                 customer.

              5' My disability    is unrelated to rny abilify to perform the
                                                                             essentiatr f*,ctions
                of my job,
                                                 .-."J
    L.l
       e       Case: 1:19-cv-06901 Document  #: 11 Filed: 01/08/20 Page 29 of 47 PageID #:129
r (/ '
^              Charge Number: 201gCF20f BCF2532
               Complainant: Kamat M. Darnani
               Page of 7
           ,       ,7


               XtrU.    A.    ISSUE/BASIS
                              DrscHAxrGE APRxL G, z0t8, BECAUSE oIr My,                                 DnsAtsII-ITy,
                              F'RACTURED         ITXGI{T I,EG

                        B.    PRIMA F'ACIE ALLEG,A.TIONS
                              l' I am an individtlal with cnisability    as delinecl by the   Illinois trtrurnan R.ights
                                   Act.

                              2. Respondent      lyas aware of my disability.

                              3' My work       perforrnance as usher/trunner met R.espondent,s
                                   was hired   on.dpril l,2016.
                                                                                               expectations.          I

                              4' on April 6,2018,I was discharged       try Brian }Iood, (no known rlisatrilify),
                                   Director and Aaron Thornas, 1no lmown disabilify), General
                                                                                                   l\{anager.
                                   The reason given 'lvas because of a physical altercation
                                                                                             I had lviflr a
                                   customer,

                             5' Yy disabitity is unrelated to my ability      to perforrn the essential functions
                                of   job.
                                     my

               XIV. A.       .ISSUE/tsASIS
                              DISCIdARGE _ APRIL 6,20tr,8,IN RET,{X,IATION
                                                                           F'OR FILING
                              DIS CRIM{NATION CIIARGES

                   B.        PRIMA FACIE AI,LtrGATNOI{S
                             1' on 'dprit L3,201'7,x filed charge #2017CF2077 andon Decernb
                                                                                              er 14,201g,
                                I filed charge #2018CF1178, afainst Respondent with the lllinois
                                Department of }Iuman R.ights.

                             2' on 'dpril 6,2018,I      lvas clischarged by Brian l{oocl, Director and
                                                                                                       Aaron
                                  Thomas, General N{anager. The reason given
                                                                                    was because of a physical
                                  altercation I hacl lvith a customer.

                             3'   The disctrrarge follorveci the filling of my discrirnination
                                                                                                charges within
                                  such a period of time as to raise an inference
                                                                                    of retaliatorl, motivation.
               Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 30 of 47 PageID #:130
 EEOC Form 161 (1 1/10)                   U.   S. EounL EMPLoYMENT OPPoRTU NITY Corurulssloru

                                                   DrsrurssRL AND            Nolce oF RtcHTS
 To:    Kamat M. Damani                                                                 From: Chicago District Office
        77045 Emerald Ave                                                                     230 S. Dearborn
        Chicago, lL 60620                                                                     Suite 1866
                                                                                              Chicago, lL 60ti04


                             On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR €1601 .7
 EEOC Charge No.                             EEOC Representative                                                        Ielephone No.
                                                 Grace Gountanis,
 21B,-2018-00432                                 lnvestigator                                                          (3121872-e684
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      tf          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EFO{.


      tl          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


     il           The Respondent employs less than the required number of employees or is not otherwise c6vere(l lrv             lie   statulss

     tl           Your charge was not timely filed with EEOC; in other words, you waited too lonq aftt-.r the; rlate(s) of ttre alleged
                  discrimination to file your charge

     E            The EEOC issues the following determination: Based upon its investigation, the EIOC rs urrabte to conelucle that                the
                  information obtained establishes violations of the statutes. This does not certify that tlre respclntlerrt is in conrpliance with
                  the statutes. No finding is made as to any other issues that might be construed as havinct been r;tist:rl by this r:tr3rqe.

     E            The EEOC has adopted the findings of the state or local fair employment practices agency tlrait irrves[igated lhis (jharge.


     tl           Other (briefly state)



                                                         . NOTICE OF SUIT RIGHTS.
                                                   (See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will senct you
You may file a lawsuit against the respondent(s) under federal law based on this charge in tecjeral or state court your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 yezrrs for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurrecl qrple lhan ryeel9_13_yge6)
before you file suit may not be collectible.
                                                                     On behalf of the Com
                                                                                                                        ,'li/   ,,\-- y'./' ,
                                                                                                                                              -




Enclosures(s)                                                                                                                    (Date Mdtled)


            STUDIO MOVIE GRILL
            c/o Heidi H. Harrison
            Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
            8117 Preston Rd., Suite 500
            Dallas, TX 75225
                Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 31 of 47 PageID #:131
                     CHARGII Oil DISCRI&4 I t"t,tt,t O,ri                                                                                  j ,tt;t,,nlv                                                      h i, lt{ Jl \r .\llilll(
         This lbrmis affected by the privacy r\ct of 197,1:
         statement belbre completing this lilrnr.
                                                            Ser l,r.ivnry act
                                                                                                                                           I    [r] rrrrrrr
                                                                                                                                           I                                                                 -l   l) | i'i{ '1   1I
                                                                                                                                                                                                                                       r-'
                                                # 1S\Yr 214.02
                                                                                                                                          lE- t,,"'
                                                                                       i)eyllrtrrrent        o{'      nIrlriliur trtights urrrl                                       trrllrl( )   (


         NAME OF COIVIPLz{tNaN'f                     ti,,,ri   *        nr,. NIs. Nlr-s.)
                                                                   ".                                                                                                                    I lll.l l,il(,\l                  .\l \llil,.l(
                                                                                                                                                                                                                                         iirrilrrrt,. iu!r                 (.uil,,)
         I(amat M. Damani
                                                                                                                                                                                         (77.1 ) tt I j'"t;'.1 1 '
         STRBET'ADDRIISS
                                                                                              Cl'I'y,   S'f   i|i'ri       ..\N   I   )   7_i   r;r_.0   ilii                                                               l, \ ll ()l liili llt
         7704 S,    Emerald Ave., #IB                                                              CLicago, Il, (tl)620
                                                                                 rtc,,rni7'ri.rtl.1r,rrr,r,rl,1\'lrN,r,ii;'ruiir;,at;t;rt1,'\lI1l..,,,,,..)l)i,ii,,,i:.);l,l,
        oRLocALcovERNNlENl'A-q-!!r!c\'\1'Ho
                                                                                     lrt( rilllrr4l_ri[,rc:,rr,r1sr-1q1L1r11ipiir,]ii,r\ {)\r,r r\r rjr ro\\)
         studio lyrovle
         Dluuto Movie         Grill
                              GrIII                                                                                  r;j\n,t.oYtjtits,
                                                                                                                  iI rr:rrr r,\/ r f.r-.))                                       r
                                                                                                                                                                                 l

                                                                                                                  I \l ltr\tBI,Its t5r                                           l




    ffi                                                                                      ....:-l-
                                                                                            ('r r \,, s,l,r\ r r,: .trrii Zii, t.iriiii:
                                                                                                                                                                                                                              i { )l \ I \
        210 \,V BTth      St.                                                                (ihicirgo,          il,      (;t)621)
                                                                                                                                                                                                                               (uoli
        CAUSE o!- DrscEt,\ilNA.l.roN tr,\,sliD                             o\a-                                                                                                 l)\ll          (,1        t,t.( Iil\u\\lto\
     Race National Origin                       Disabilitics
                                                                                                                                                                                1.1,,\lil.U                 (\t)i \,1 l,\) t.\,tl \I(\ll.)
                                                                                   It cttli;rtio lr                                                                                                    "|
                                                                                                                                                                                 bl20 t7                                                                    I   t z{|l
                                                                        Alt(xt rrnri il,s r,,or,i,b\\,.\L                                                                      l-.J      ,   olr\r r\(, \( r r(,\



   ---

                                                                                             11,




   Page 1 of 15
                                                                                                                                                                                                                                                                 I   )(   l',
  I.also ryarrt this chargc filctl rvith thc I,lIOC,
                                                      I *il] arlrise ,,,",,r",,.,", *,1                       ,iU                                                                                        t() nil !()Iil1,\ll
  c.hangc my adtlrcss or tclcphonc lrunrbcr
                                                  a.d I rvill .uol,'*,.;;: ;:;,1; ,;;,,,' ' I
  thcnrintheproccssingoInryclrargcin:rccorttrncc.w],li;i,;;;,r.r..,i,,._,
                                                                                                         l,l,fl                                                                                         .;        ,'_tl            I         L

                                                                                                                                                                                                                    .,.,


                                                                                                              N()       l'.\[i.\'               s   tr(]NA',l'Ulir                                                  1l'.

                                      PATRICIA ALI/IA!],^.2                                                                                                                                                                                      I
                                                                                                                                                                                                                                                 tl
                                           Offici.rl5erl
                               Notary Public     -    Srotr o[ ]liir[ri,                                                                                                                                                                         :) It '. /..12 1)
                                                                                                                                                                                                                                                                1"1
                           f,4y Commission Expires             5ep       I B,   202l
                                                                                                                                                                                                                                        / l)\il
                                                                                                                                                                                                                                        /
                                                                                                          I tleclltro urrrlcr pcrrrtltl llrirt tlrr iirr llioirr, ,, rr Lr, rtlti,.,,, r L.l
                                                                                                                                                                                             I ru,.rt                                                 r,r
                             l\Tna1 rn\7.arrrir.                                                          ;tlllrtn tllrt I ltlrc rrlrtl tlrc rrll,rrr                                r,l1rr.)j, :1,,1 1lr.rl il l, lt rl t,) llre lrrrr ,,r ,,,,
                             1\Vr^alr\I       r)IlItYtt-
                                                                                                         \    i, 9   )l lqtl g,lr-11      !l!_rIlf iglr   ;r   rr   rJ b c I i t, I
EEO-5   lioRilt (llcv. 7/12-tN'rr
                                                {\
 Case: 1:19-cv-06901 Document #:/ 11 Filed: 01/08/20 Page 32 of 47 PageID #:132
  Charge Numbcr: zotttClrriizs
  Complainant: I(alrat NI. I);rruurri
  Page ? of 15

      I.         ,t
                                ISSt]ES/i]ASIS

                                UAtrRASSi\{Iilvr._           .,ui\L     2011,1'fiitr()rJ(;t     r
                                DIIE T{] fr41'nlACII, r\SXAI{                                                                                         1tt1''

                 B.             PR[i!IA [l:\Cl         XI r\n,tr,   EG;\.t,tr{)NS

                                t.       I\'try l';rr.:c is z\siiur.

                            2.           I   rv:rs   llii.crl on.,\;x"r'l tr,201$. h[]'
                                                                                        triel'lill.rjtiit)r{^ ;rr :irr {rrjri.r.          ;.r11lr!(.r. !jr(,i
                                         I:tcsgtun rlerr l rs e_rtrtcci   rr I i   onr-.

                            -1-         I"r'o,r.nrrrr 20r7lllrrx      corrli'rri,g rr,..*grr r)1.(,s{,!rr {l}r,et,rrrr;,,r lr)r,,)
                                        have llcttt strll.itctt'cl l.rl hllrass,tcrrt b1, ,,r0r.i,,,,,,                                     r
                                                                                                          !rr.rrrlli.d: r,r.rrlrll.rrrirl
                                       I1li]l!'lgctlic*t' \/:rt'i,tts- l]xitit1]gcI's Iiavc rt'ilrrcsrtrl
                                                                                                           :rrrr1 .itiiir.ri iri :lr sirrll
                                       rictriculcrl rllc atitl lltttvctl rtte Ii'orrr lrs!i"
                                                                                              to tilsk lr, rirr,L rir :rr ourrrl rrrrrl
                                       soci:rlize. ln Jtulc z0iTr riilurlrgrnrr:nt
                                                                                           cverr ignort rl ,, ,:,,,,,,1,t,,i,rt r tr ir.rr
                                       to rnalic ilgailast a co-$,oriier rvrro trrr.c:rtclcrr
                                                                                                    lrrr nrl:r si,.,:riir. ()rr ,\.irr1\r
                                       29r20 17,.ltc"-po*rrellt arso
                                                                            P,f ,rc i, !rirl-r,rs ,r,,-, r,. rrlrr irrq lrrt, lrr.lrt. r,
                                       cleal lvith a rrrob of angrv.ustorir.r's
                                                                                         rvrro *.*.r,,,,,;,;',.;;,,r.rr. \rtrr,rr'ir
                                       nlanagclne't ig,orcs r,c, thel, r1uictril1, :ltltlrcss
                                                                                                          :,r.r,(,r1(, ,r,.,,,
                                       corr;ilailtt:rgainst nrc strctrr as-'[',r,,r.:r.l,r"tri*,,,,,                           i,1,,.,..",,
                                                                                                        \1,,,,,r:,r.., (rrr]!r_1\)-iirrr).
                           4.          Within this (ilrreli.iurrr, I hlrt,e liletl vllriorrs          t.urrrlrJrlrris r., itlr ..\ur orr
                                       'I-honr:rs (nt'rrr-Asiun), (ierrerar
                                                                              N'trilrirgrr', :irrtr i.;r,, ;', ,;']rr 1ri,ii-,\si;rrr).
                                       Dircclor
                                                  'l'tr:[r'rirri I{*su*l'c.s, rrlrt ,rtrrirrr, ,,r,,, . r..., ,;,;;.,.             "



                                      Sitnililrl.r,sittiirtcrl non-;\r-iirn cnrir!ol,crs iu.r,noi
                                      to lllc ll hlrr-:rssrrrtnt coru;rlrrirrt.
                                                                                                              lr,,rr,,,r ,.,r!   il {l   ,..,   ;rtttrrrili

                       6.             llhis     conrluct crcil{crl         ir lrostilr, irrIiniitlllirrq. :trrll olir,rr..ir r^ tril                     l
                                      cn vil.orr ttrcn t,    lt'llicll ju(rrli,r.ctl willr lrir ;rlriti11 ,,, tlo ;ri.,r
                                                                                                                         ill,_
II.         A
           fa.         ISSU!]S/f]ASXS

                      Idr\trtASSI\{xiNl'- ., uN rt 20 | 7' ,'il R.o Lr ( ; I r tr,i{ I,r li r,r.r-
                                                                                                   d tJ)l { L\tJlt 1i ]0i,/i
                      DUtr 'IlO MY NA'I'IOF{;\[, ORtr(;trN, trN[)I.\.

           l].        PR[]Ird Ii',\('I Il r\ Lt, f,,]( i:\'t'I ON.!

                      1.             NIy,rrationul or.igin is inrlia.

                      2.             I t'rtr^ hil'etl ,' A1r'il r,20r(r. ]\tr.t 1re r.rrl-rrrlr]r,r. :r\ ;*l
                                     llcsitontlcli t's crpcrtuI ioll,,-.
                       ti.-
 Case: 1:19-cv-06901 Document
                            ..,' i #: 11 Filed: 01/08/20 Page 33 of 47 PageID #:133
 Charge     Number':
                   ?018tlF117tl
 Complainant: I(anrat h[. l)arrra ni
 PageB of15

                    -)-     lit'r'rtlt .trtlnt 2{)l7 autl contirrtriug lhrotrgh
                                                                                       i)l'(,stjii (li)L.r.t,iir1,,.i _1l)17). i
                            !ravc llec, srrl:.iecterl t. hlrrrrss,rcrrr b, r,l*-i,r,i rrrt,rrrl,l,l.,
                                                                                                                 ,i srlrr.i'llrrri
                            Illanilgelll('ll{' V:lt'ious Iltiinil!i(}r's Iurvr.r rlitrrt,ssrtl rrrrti jlirrt,r! i:r;ir sl:rl.J
                            l'itlicrrlcti lttt ittitl tuttvrtl llre ['r-onr llis!i ro {ir:-i., ;ir 11,,,r .,il ;:i,rirrrl ,rrtl
                            socifi]izc- llt..lttire ZLtlT,IIliMzqeIucnt t,l,t,rr igrrur.t.rl :.r,ulrrrrlrririt i 1r.i.tl
                            to nritltc llg:linst il ctt-'lvoriicr *'iro threlirrret! rrlr,
                                                                                                 lrlrrsit.r;1tr.i.,r.*:,rrr{ lr).
                            201'/,llcslltltttlcttt also put tile irr hlra-ln's rvli.\ lri lr:r\il:i rjr(^rilr)irr,{r.)
                            tlcal-rvith il ttltlll rll';tllgl'y ctrstorncrs r.i'llo ryt.r-e orrl , j'r,'r)ir.,l. \lllrr,l., lr
                            rnarl:rgcDr0nt igriclrcs rne, tlic1, qrriclil.v ;ltlrlr.css ilrl\ {)ut r\ lr9
                                                                                                                      lrlirt,r,r :r
                            cttlil;rlairlt:lgilittst nte sltcir as'tr':unar':r..{;lcl.:r-un, hil :irr:ril.r.r.(rrrirr-irrrlirr).
                /t
                            \Yilhilr lhis {illrel'l'AI}tt. tr Ireye f ilccl r,;u'iur!5- {..{)r jrl;1::rirlc rr iltr ,\irr r,rr
                            'tr'honras (rton-xlrtlia), Gcrrr:l'rll fr'liiir;rgcr',
                                                                                   llnrl tr,Isr: :r*i l:ir: (ririr;-[rrrli.i
                                                                                                                       i]                                  r

                            Dircctol'o1'fllunuln trlt'sorrrces, trrut lroilrirrg \1'1ls t,\..r-rlrrirr,.

                5.          $iirrril:lrl-1'sittllltrctl r:ttt1llo1'ees w'trio w'rrc nol l)'6llr lrrrii:r. j*(,ir,l                            i:,,),r.t^ri
                            if tircy, iltte rrllrt to l'ilc r trrurirssnlrnt cotngrlailr{.

                6.         f'his colrtlttct          rl a host!lr, inrirrrir!alilry, ;rrr,! olit.ir:ir t,
                                                  ct'eate                                                                                         \r(ir
                           envil'onillCnl, rvlticli interl't'l'erl *'illr riiv:rbilill'Xo tio rr.i
                                                                                                   iolr.

III.   A
               ISS[JITS/8,,\SIS

               IIAI1ASSI\'t ilFi'n'- J LJr.r- ti 2 0 I 7'.t't { I{"() iJ G I I I, [i            [,]s   t,t   \ ['llrl,i         tr,.r\!l;t   li ]t]l;')
               D UE :['O N.I y D I S,,\ i]Itr_ tr'r],, D Il I'[t liss I ()]1

       B,      PRIM A Ir.,\CI I,l r\n, [, trr] (,i.,\'f'I(]       NS


               1.          [':rni ln ilirlivilltrrrl w'it!r ir rlir^airility rri{lriii                   {trrr rirt,
                           103(f) of the Ilunran Rights Ac1.

               7.         Ilcs;rrllrticnt *:rs       111\   trc   oi" lrrt   rli:^alrilil r .

               3.         I lvas lrirctl orr ,'\ltril 1,2016. Nl1' ;rr:l'liti'trltiIIlLr li\ itlt                           ll', lrr^r I lttlr,r-rtr!r.i
                          ftcspontlcn t's c-r;tt'ctatiuns.

               4'         L'-l-orlt .trrrnc 2{},l7   tltrtl colrtinuirg tlrroirglr [)l'r,stilr (l)t,r.t,rrr]rlr ,l titT). I
                           hlvc bcctl titlll.itlctc'tl to htrassrrrrnt [11'l'lrrit.rrrs nrr,..ririrr^r's o] ., 1:rll rrlil
                           mflnagcnlclit. \ial'iotts lllitllltgers ititvc t'iitrrcssctl llrril joiirlt! in:is sllrll
                          riclicrrletl ltte itlltl ttttlytti r"nr ll'llln tnsli tu tlsli lr: llit,r si{ iir {)urr(l ilrr(!
                          stlcializc. Ili Jttlic 20l7r Itiiln;lgrf lllcut rven ignolt,ri :r t,rirXil:l j,i{ I tr-it,r!
                          to nll}Itc ltg:tittr^t i) c()-'!lttllicr *'ho llu'ctrtcntt! llrr: 1rlr.,",iL.:rll1. ,,rr,,rrsl lr)
                          2017, ltcsp0iltlcltt a!sll ntut tire ill f,rilrni'.,- urr\' trr.i lL,:i', irlrl rrri. ;iirirrl ir;
                          ticatr rvitlr :t lttol;, oi-ittlgr'.1'cttstorrrrrs rrlrrl rrtlr,(,ul ril i',rrul l!. ltlior:3,1r
                          ni:tlrilgeni(rtrt Igllot'cs lltc, lltcl t1 rrictrilf ittltlrrsr atr.., i)rt. il ii(, l)[iltr) ;]
                          coltttrtlaint :rgaillst lnt srrclr fls 'l'llltlrrir .!irclisotr, l\l:iir:r,,t,r..
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 34 of 47 PageID #:134
 Chargc Nurubcr': Z01ti[]ti't lTli
 Cornplainzrnt; Iiauril{. I\tl. n)lnrrrrri
 Pagc 4 of 15



                              \\'itliilr iliis t!rirc1'l.rinlet I huve {ilerl r;er 'lirll\ r'1rrit{rl:tirrl,
                              -i'llonrlls, (lr.:rrcl-al                                                      n illr .\:rr oi,
                                                         J\,Xirnagcl-, iurtl Lisia llu.t l:rii. J!ir.r'i.trr
                              Xi.csorrrccs. l;rr1 uoliiilrg u-irr^ cvt,r. rlout,.
                                                                                                              ui l lrlrrrrrrr

                   6.         silililrllil'sillllttcr! clill;tlol'ccs with              rio   lirrrnlr trir:rlriliiii.r
                              itr'thcy rrtlt,rupt to lllc a har.assrnrllt cunrlr!irirrl.
                                                                                                                              :ir   t,ri,r i!lr,i..rl

                   7.         '-{'lri.s colrrluc{ cr-clrlr.ttl lr hosl.iic,
                                                                            inlinliriillirrl:,. llri {ill(.ii\,\,r,                            \irr            h
                              environlirrri[, *,Xairlr intrl"{rr.eri rvitlr nrl lrllilili Ir;
                                                                                                rlri 11,.1 i,,1,.
                  a        l\'try' tlis'irlrililf, is rrrrr.elufcrl .(u              llr\, :rl;ili1r, lo     lrL   r'lui lir tiri, r,l:rir1t;rl
                           [unc(jorrr- ol' ln\., ioh.

 IV.    A
                  ISS[JIIS/]],1SlS

                  fiAIRAssi\'lliF{'n'- ., uN E z0t7'x'firtotr(;II r,tr{rLrsi,r*i
                                                                                                                                                      ').
                  DIlli TO N'nY X)[Sr\tr.]H.IT'y, BI-t,Ot,r\nt DiS{)tttr}X,t!t
       ts.        PtrtINIrt   nrz[C]tr trl   ;\ t, [, [r] (Ji|i' n ON S

                  1.      { unr a' irrlivirlu'l r'irrr lr tris*r;iritt'triirrirr {ri*ir;rrrilrl, ,,i                                  .,1,1.{i1r11
                                                                                                                                                      i-.
                          103(l)      ol'rlrc tr!trriran Iliglrts Ac{.

              2.         trtes1;r-rrrtlrlrn *,rls       1111.iit-c   ol' lu.i,   rlisabililt.
                         I rrils Itirctl ori;\1tril l,2lll(r. l\ll lrtl'iirr.rr:lrrL.r. :r) llrr {r\iri,i.i
                         Itcsporiricn
                                                                                                            rjr,r,r                            rirL
                                               t's             tl iolls.
                                                                                                                                                           1


                                                     ctgtcc{

              4.         ni'rotlr 'lrlne 2{) l7 antl corttinuirrg lhrougll
                                                                                  J.}r'r r.r,l i {1i )i,i.t,r:lrr,r f{)17;.
                         It:lvc l;cc'tt srrll3'tctcrl {o lutrassnlr:rrt l;1,t,,,n"in,,,1     rrri,l,.,l;i,r.r *l silrl.i. l,ir,rl
                                                                                                                                                      ir




                         nun:lgorrlcrit. \'rlriorrs Iilr!!liigcr"s Il;rvc n.illrts:^t,tl :rr,rl j,irii,rl
                                                                                                                 irr irs sr:llr
                         ritlicrrlettr tttt ;tlttl rtloyt't! lirc !l'oru (esli to llrsii ;r., r1,.,, .,ir
                                                                                                              ::;,r,rl :iirrl
                         socializc' trll ,ittlit 20I7, ttlltiiitgcltirrrl t'.,rrr igu,rr^.tl :. t.or!rpj:iiiit
                                                                                                                      !lriL.rl
                        to nrialic irgirinst lr co*l!ur-liel. ly!rr_r thl.clr{cnrrl inr,
                                                                                         ;;1r.t.,i1,:Lilr. ,l irr .\rrgrrrt
                        29,2()17, [:ltsltonrlcnt:llso;trrt ntr in lurr.nr.s rrrr.\. Ir.1 ir,:rr iri,;
                                                                                                           i,rt,:rlorrr,to
                        tlcrll rvitlr :t rrtoll rll'ltttgry'crrstonltrs rylro tr*r-.,,r,, 1 ,l ,.,,lrlrtl,
                                                                                                              .ililr'rrt,i,
                        IlltlllAgCxliCltt igltOrcs lllC, thr.1, t;uitlill, lltltlr.rls :it lr\ jpr, rr
                                                                                                          lr,r lllttct,: ;t
                                                                                                                   r

                        contplaint llgllitrst ri)u s-ucll lrs 'l'anurr"l .nirctrisou^ i.r lrr rr:r,,,..r                  .




                        \f itlrin lllis tirrrcl'l'1lttre, i luivc llletl virrit)rr\ L.rrrrlrl:rirrt,. rr itlr .\irr.r,ir
                        'tr'llonra:,-, (ltire rirl 1\'X:uurgtl-. lrnrX
                                                                        Lisll Bot Ilir,. ,l ;1,.,.,..1,,, ,,1 llrrrr;rr,
                        Itcsorrrct:s, Irlrl no{ltir]11 }},itr cvt,r. tlont.

             6.         sirlril:rr'trr sitrilrri'tlt,lrrpl.rt.t,5rrillrlroliirrrrrrrrli.:i,..                      :. :j,. :.          i,,rr,,r,.,!
                        il'tlrc.1' :rt{rnlpt tu Iilc ii lu!rrts\t)lcn1 coluit!rririr.
                       ''.. /' #:
Case: 1:19-cv-06901 Document   ) 11 Filed: 01/08/20 Page 35 of 47 PageID #:135
 Charge   Number:               2018C!r1 l7H
 Complainant: X(anlat NX. Denrtrri
 Page 5 of 15



                     7.           l'his colrtluct ci-cirtctl u lttis(ile, iutilnitlreliatl,," irn{l ollrrrrirr                                }\ri r i,
                                  cuevironnrcn{, rvhicli irrlr-rrl'eretl w,i1li nl'v atrriiirr trr 1!1, ,,ii
                                                                                                             ir,l,
                     (r
                     l7-          My tlist!;ilit3, ;q uurelu{cti to                 ni-1'   ;llrilitl t,   Irt.i     iri.rrr {lri.    t,s:rr.,rri:rl
                                  f'unction s ol' nl1' joil.

v.     A.            ISSUES/BASIS

                     IrARA sslvl ni]l'{'- .r LJ }i !l zn \ 7' r' Ltri l( } LJ G r I t,t{.[,]si !i hi r 1)i_,('li \ll {it llt l0
                                                                                                               1                                I   7).
                     IIUE 1'O l\.{Y tr)trS:\XIXLI'X'Y, F{L\CT{rliUD tr,DIIX.{,!,t(                         J




       ts.           I'}trLlM   A IIr\CI    li   r\ LL lICA't'tr Ol,t S

                     1.          I arrr ;rrr inrlivitluirl w'itXr ;r tlisrrliili{.y.w,i{liira
                                  103(l) ol'ihr Xlunrara ltighfs Act.

                     2-          lLcs;;orrtlcr:l lvirs    :i)1   itr.c u1'riry clislrbilitr,.

                                 x lvlrs hirctl orr r\tr:r'il l, z{}16.       hIl ;ltr.lbr.nl:llicr, :r\ :i. l:rllt.r,i uoilrl.rr!r,r
                                 Ilespontlenl's cxtrlcctil{iolls.

                 4.              Frorlt Jtlnc 20l7 atttl Ctrlttirrrriilg llrrorrgll [)r'rsr,/]t i[):.r'r'rrrlrt,r J{) 171. I
                                have bcctl srrl;jcclcrl to h:rrllssntent Il.l vl:r'iorrs nlt,rrrlri,r., r;.i stafl:t*rl
                                mflIrilgenntnt. v:lriotts nrl)rllgr.r's hltve ivitlressr..rl irr,rrl
                                                                                                        .liuirrt.rr iu ll:- s{;ri'i
                                ritlicrrlctl tnc atlcl niovctl nic li'oru Iasli tu rlls!i:ls ilrt,i sit :r.ouu(! ;urrl
                                s-ocialize . trli .Itltlc 2017, rilitllirgclircnt cvrn igrrort.ri ,, u',,,r,p1:lirrl
                                                                                                                          n tr.iL,ti
                                to Dr:rtr<c :lguill,'-t r c0-tl"orker ryllo thl-e:llcnetl n:r plr.,,.; ilrrllt. {.}rr z\rrgrr,sl
                                79,2017, [i.esponrXcltt lrlso ptrt nrr irr Ilill.rrr,s ,r,,a, 1,., lr,:*..irr:r, rrrr, l!!o!rr,ro
                                dcal lyith a rno[t o1'lulgr'1,clrslulnrr-s rr']ro rl.t,i.e orrl lrn t.otrlr.ol. ..\!tlrurrl,,li
                                mtllllgclllctlt igltorcs nlc, tllcl' ttrlriclilf irttrl rt,ss irrr\ ()1(, r,, lr3 plltt.rr ri
                                cttntyrlainl lrgllirrs{ nre sucll as l'ilrrtarlr .!irclison. i\ll :Lrrr1,t,1.

                5.              \Yithin tllis tinlclranir, i lun,e lilctl v,irr.ir)us {,trrrrJ;lirrtr rr iijr .,\irr crr
                                'l'ltonr:ls, (itltcr:rl ,\Xllrulgrr., :lnrl X,isl f,lo.\ trlrir., l)rr.,t.tr,r r,l ii !rrrrir,ri
                                llcsotu'ce s, Irut llothirrg lr.ils cr cr. rlont,.

                6.              Sirtrilartry sitrrtrtetl cltrltXol,e(,:j tlith ltu lilrorrlr r1i,,;i1riijijr." irt r. i rl l iltl         o   r't.rl
                                ii iirc.l':lttcnrilt to lllc u trull"irssrrrr.rn( conrtrrlrrint.
                ,7
                                'l'his contirrct crceterl t irus{ilr, irrtinlirliltirrs,.        :iirri olir'ir',iir' \\(,r
                                crit'ironrncllt, rrtrrich iillcr'l'el'atl n'jlh nrt alril!{r {u tln iri \ ir,i,

                ti.             Nnl' tlisrrhilit3' is luu"rilt{ctl lr.r lrtl' :rl;ilit.r {u            1ri,r       1r,r'iri 1lrL. ,.!.;L,rrtirii
                                Iirnctions ol' titr' .iob.
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 36 of 47 PageID #:136
 Cllarge Nrrnrl-iur': l()lS(llii tTii
 Comptrainant: I(arriiil [1. [)rrririirri
 Page 6 of 15

 VI.      A.          tSS    [J   llS/8,\,$            {S


                      HAf,LtSS t1,[ Ethl'n'_ ., t ] i\ t,l 20 I 7,t't I [t() [ r {_; I I t}i U]t:i ! I xi l, (                                {l                                                 lr
                      fttri'tr'Altr z\l'i () l! XrO [t ]ri X, N ( ; A [) i S ( ] t i i h tr I I,r.,,\,X tr (.] rl
                                                                              tr
                                                                                                                                                                                               ji{
                      Il,[,trN0tr,q i]tri['r\!t'l'1\'Ml{'t' {)ti tr I L]i\I;\t{ ItI{; I I I l.;

          ['1.        PIII   IVI   r\ [, z\ C I Xl,,\ l, il, [,] (lr\' ['          n   ( ] r r- S


                      I.            Irr r\J;riX             1.1)17,   i    l'ilr:rl rliser.irrrirrrr{.iorr t.lriu,l,i, ,,                          i(  ,1



                                    llc'polrtlcrrt u'ith                  1ht' illli*,is n)rp*r-trnt,'r,1' ( lrrre;                                lir'll
                      2.            .lirottt .ltlllt: ?{) l7 :ltrri t.t.rrrtl'lilrirrg {lir.orrglr r,\r.rit iii ,;i,i.L,t ,i; I        -,'
                                                                                                  i)i                             _\t      ). I                                       1


                                    trtaYt' !rorn sulr.jecrctr Io ltlil.as-sriitrtl Ir-\, r,ili-i61s rrr.rr]]\
                                                                                                                      r: rr rlirll irllti
                                                                                                                             j
                                    ruir!litgrfi r0ll l- \/tIi0rrs !lriiilirg('r's hlrYc \r i1 rrt,ss,,,rl : r r r l
                                                                                                                               iti iis :il:ll
                                                                                                                                          r
                                                                                                                                                   irrirr,
                                   .idicrrletl llr* l*ltl             r:ra {i'r*r llrsli r, {rrsr, :r., ilrr'r .il
                                                           'r,l'r:tlrliaxll!grrlr{,n{                                                  ltirri
                                   sori;llize. i u .lrnlt, 2$X7,                      t,r,urr i:,rri; ; ..r :i t {.rIlll)           t ! lUi
                                                                                                                                      1

                                                                                                                                                                                                      I
                                   to nl,lic:rglli,st u co-\\,ol.lier ll.lr, tlrr.rrr{t,ir.tl i, ' ult r 'ir :rlli. lr;
                                   iit'oult(l .trlrlr'2017, X{csllollr!rll1 :rlso;lrrt rrrt irr lr::r                     1,i ll
                                   r])e rrlr)ilc t0 ricltl lvitrll:l nr0ll ol'llngr'\,ell.; r'ilir.; ii lro ,r l'(' t)t.tl ()l
                                   conlrol. ;\ltlrouglr t)llrnagr:rlit:ltt ignor.rs !rir, tirr r1tri,.'1.. :trlrlr.r,rr
                                   1til)'or)c rvhrl 1;lirccs ll currrJ_rl:riut:tgllinst rrre strr..ii t\ 1 :rtrr:rt
                                                                                                                           ,lltt'l..sorr.
                                   N'l    rliage r.

                  3.               'l'trtc :rrlyel'sr irctiorr closc[.],
                                                                         {'riltorr                            e tl tlrc                                      '. {      iilllil:rl,t1
                                   cllalgc tl'i{[lilr slrch ll plcr.iutl ol                                    iillt                                         1.1   I   {.'l't'l J (       (.
                                   rctal ia tor'1, rriotit,irI ion.

wI.              ISS UES/ilr\Si                  trS


                 RITDU{i'l'l(}Fi !r'l n Ii)tltrc.:;- .nirtr,\                                         17,   llt        [(),\,]i   i

       trj.      PI{.tr1\'X,\        ni   r\(l   I   X,l




                 l.               InY rrrcc is ,\si:ur.

                 2.                      lrirt,rl lrn,,\pl'il l,2ll1"b.
                                  X w'a:,^
                                  Xtes;tonrlcrr t's r-'rpcc{ lll iuns.

                 3.               trtr ,ltrlr' 2() 17, rtr\' lrr.rru's                              l'crl ri rrr I trr.r
                                  (r'clterirl NXunlrgrl'. Pio a'                                    *'lts givcu.

                 4.               Sirlrilllrlt' sitlutlcr! nolr-.,\silrrr r.rrriltlolr:rs
                                  rc{l ricc(l rr rr rI rl si rr l i lr r r-:i rr;rr trrs,l il rr c(,5.
                                                                          I
                                          |           -)
Case: 1:19-cv-06901 Document   -., #: 11 Filed: 01/08/20 Page 37 of 47 PageID #:137
  Charge Nunrbrr.: Z{,ltJCI.'t t7|i
  Complainant: I(anrat I\{. tr)arrrurri
  Fagc 7 of trS

  Vill. A.              ISS[JIIS/B;\StrS

                       REDtJCt.trt)l\ [h- ei()ti [ts_ ., Ur,] 70!7, x)U{i'{'(.!
                                                                                l\t i                                              I'l,l )',, r:1. ()lil{   ll \.
                       INDI,I\.
        D
        n.             I'}RI PIzd     [r;\CI    l,l r\ t, L   ti(i;\.t,tr0NS

                       t.        I\try natiorral or-igit: is Nurlia.

                       2.       trlv:ls trrircttr ,rr z\1l.ir L,20l(i. ftn.l'1lc'ii*rir;r*r'(.r(,:rrr
                                Iiespoll tlrn t,s expectltlir.rns.
                                                                                                      trslrt.i r.,rirr.r.r,*,r

                   3.           Xrr.lrt11,2l)lTr llrl,ilorrr.s w,crc ncrlilt:erl
                                                                                  nrl,.,\lta.r;rr ,l lr9;r:,., (rr.rr-lrrrli:i).
                                (icnel.irl I\[:lllirgr:1.. lVo l.c:lson
                                                                        rvts given.
                   4'          sirnilarx-l's!ttratctl citlploYccs \l'ilo rvcr-c rr,r
                                                                                                        ii.r,
                               rl r cir ]r. *r-I- !'eri u ccd rr' rtr cr -^iru
                                                                                                                             il   irrl,i;r, rriri   rrrl l:.*t,
                                                                               ir ar c i.c rrr r r ii r
                                                                                                 r:,^       r   r.   r,,).

 IX.   A.         ISS       UEsinlr\SiS

                  REDuc?lloli                   -!r\*   nrourts- .rUx,\'            2017, n.){lr,r              ir   ,* ,rr\ r)r\ r,trJil.i r \.
                  DIII'RI'SSION

       B.         I'RI&,IA IIAC           I   iL A I, I, [IG,,\.T'{ OrI* S

                  l.          I trn :ln irrtllvitlrlll ryitit :i tiisalrilitr tlifliili                  llrt. rrir^:rlrirr:
                              I03(I) oi'ilrr trtrunurn tr{ighfs Act.

              2.              Iicsllonrlcnl ryas i!w.lr!.c            ol' ln\. rtisirbilit-1,.

                             -! rvar-   lrircrl      ,, -'\pril r,20iIti. hr-r'purfo'r,ir*cr,                   :r\ :irr 1r\ri(.i          r 1r1l,(,r.rrrL.r
                             Rcspoil clcil tr' :)^ c.\ {l cctu I i0lr   :-.

             ,l              f:l Jrrll'2(117,
                                            rtl.y ltolrt's t!'t:r'c rctltrcetl lrr',\rrr.,rr lir,Lr'r.,
                             Gcnerrll 1\lanaqcl-. No r.elrson w.ts givcll.                              llr,rrr-lrirlilr)

             5.              sinritrarlY siIuutctx crnpro.\'els rrilrr rro rileo*,u trir:ri,rrjliL..,,
                                                                                                               r]i,r rr,1 Ir:Lr,
                             tlirir h o l*'s l-ctl rrcerr rr * rr cl' s irrriril r ci r-c * rri:i
                                                                                                  r rr rr. r.s


             6.              I\11'    tlisllhilill is rrrrrr-:llrtctl to ru1. lllrilil.r                rr.r lrt.r J*r.rir iiiL. r.r-rrrtirr                j
                             Iirnctiolts       o1'   nr-) iob.
                       I ,. ')#: 11 Filed: 01/08/20 Page 38 of 47 PageID #:138
Case: 1:19-cv-06901 Document
                         .                                                                                                                                 i

 Chargc      Nrtmber:              2{J     llj(:Xr I i?li
 Complain;rnt: Iitniirt Nt. [)lrrarri
 Fagb 8 of    ls
 X.     A,              ISSLIIIS/D.,\$j1S

                        ttEDLICl'i(}N                           IF,l   trl(][Jf,ts- .ltJx,\'2{)tr7, t)x]il,]                    '[{} ii]1:,tr1r; ,.tirii ti
                        Bn-tr,ox,Alt                 D i sl() n{t) xI n i.

        B.              tr)Xi"n   Nt,,\    Xi'.,\ Cl I Xil        r\ [, [, ll ( i r\]'         n   (   ),\i S


                        t.             altr itlt irttlivitllull lvi{lr lr tlisirllilill rlillrirr tirt.r,rr,:r:,ir1,,,1 }it,r..iirrrr
                                      tr
                                                                                                                                                                                                        I

                                      103([) ol'tlrr trlrrrn:lrr ntit1lrts ,\c1.

                    2.               tr{cs;tontlrlIt w'trs illf ir[-r o1 nt,r, r!isirtriliIr,.

                    J.                trrllrs ilirt'rl ()u /\l)r'i1 l. l{11(r. hIr Jlt.l'iirr.!!)irs,:('_r..:], r.,r;r., :,rjjrrr,, li)i;
                                     trlcsponrlclr t's cx;lrc{ul iorrs.

                    .n.              In .lu11' 2A11,ln-y, hour-s rye l-c l.ctlucctt llr, ,\:r1.o]:
                                     (lcllcl't! 1\tranlrgcl'. No r.cllsorr *,us 11il,err.

                    5.               Sinlilarioi si{ttittctI clltltlo-1 ecs r,r,ith lto linut\ rr tlir:r]rlllliL,:. tiiil lr61 ir:rr
                                     th cir ll orr r'r^ r'r:(lrr cc(l rr lttlcl. s ilitilar- ci re ri lrrs t:r I lt,s.                 r




                    6.               N'i1' clisabilitl' is rutrt,l:lltrrl (o rny llritrit.r, {o 1r.r                                                           1ur.111    ii         r'r:t'ltlt:ti
                                     I'ranctiurrs o1' nr1, .ioir.

XI.    1\.         ISSUESII}ASIS

                   REDUCl'r(]N Ir.i t{{)utrs-                                                            .l{l!,}'   2t}17.      I)Ut       t(r,                     I tll        ,,1r1{ H
                   F    ll,.dc't't tI{ Ex) L n,l tri' x"q, ntG

       B.

                   l.               -[   ltln rln irrtiiv'irlurrl
                                                              ryiltrr lr tlisrrlrilitl                                    wirlrirr r]ir.rri,,;r'ri:,                     1,
                                                                                                                                                                                  'r'r.'i   lrlt,   I

                                    103([) otr'thr: I Itanriru trtiglrls ,,\c1.

                   2.               lt.esl"ronrlrnl *rrs                         1r\r'1u'e ol-            rut. tlisa!rilitl,.

                                    tr w'lts Irir-crl ort ;\1tt'il 1rZfi1(r. hlr ;ret'lirluurri('L'                                        :1   ,   :r.r   r rirlu.l r rlrirlr,l. p*,1
                                    trtcspontl cn {'s cr;tcctlrtit.urs.

                   $.               trrr   ..!   rrl.1'       ?l)17, nr!' lrorrrs tl'cl't l'rtlrrr:t,rl Irr                       .\::r'r,r         J   lr,rr              ll,,rr-ll ilrli:,i
                                   Cl crr c       rlr     l   I\ l :l rr il   get".   l.i-   r) r'eils tu r tv irs giv c ri.

                   5.              Sinrilal'tr1's[1uit(ttl tnllrlu.\'rr.,s rlillr llo Iinu\rl: t]ir:rl,il,iir                                                            t.l   iLi ltoi lul i,
                                   tltcir'Irout':- l'r-'rlrlr:crl rrntlt,r'sinrillll'tircrrrrrstrir:,-'r.',.
Case: 1:19-cv-06901 Document
                        i    #: 11 Filed: 01/08/20 Page 39 of 47 PageID #:139
 Chargc    Nunrbrr:
                  2UluCl,'l lTli
 Complainant: Kaurat NI. n)aruani
 Pagc 9 of 15

                6.         N'nr-   rlisalrilitr is t:rilrlil(rrl lo tit\ :tlrililr r{r \,.r l1,l
                          firnc{ions                   o1' nr.1,   .joll.

 xu.    .,t.    ISSUX,IS/BASIS

               RITDUCI'{OI{ tri.r'- il()unls- .rLlx,\'21n7, Hh" nui]ll,\t.li,\I lr,tr 1,,t)tl Iit.!\{; '
               DISCRIfl,'IINA'l'tr()N Ctrlr\itCtl \1'X'tr't{ l'llii lf,,l,lhl,{)l:i I}lll,{rll C 'rtttll I llr
               FIUIVTAN ITIGIl'I'S

       -if .   tr'RIIlIr\    Xiz\Ctr        X,],\l,X,li(;;\'{'i( }l"iS

               1.         Xu z\pl-il 2017,                     { I'ilcrl rliscr',iurir::rtiurr clrrrgr, ir,t t)j'i { ! -l{)17 rrtirirr',l
                          llcs;:ontlclit                  litlr tlic Illiuois [)elxu'tlucnt ol' llrui::rrr llliLilrti.
                                                                                                           n



               2.         IIi.lul.t'2tl17, ttt.y llours rl'el'c l'artltrcctl lr1'.,\ili'lrl il lrorr::rr (rorr-[rirli;r),
                          Gcnei'irl fr'l:lnilgcl'.                         l.r-ll l'cirson rvils giverr.


                          T'ltc advcrsc itctitui cXosttr.'r' ljlllon'etl {hr iilirrll r1 r,r.1 ,rli',' r irrrirlitiln
                          cllargc w'ltltiri sttclt a Jlerioti o1' triilr: :rs lo r.:r,r :1r) irri,.,r.t,iir.,. ri
                          rct;ltri:rto r"r' rir otivittiolr.

rutx. A,       ISS UlrS/Xl;\SIS

               tt.,\ILURE'[()l'nt()H()'i'ir,-SI,]['l'l'.]l[][,]!i.1017. U]tril. 1l I                              ',111,   li' { i     '.!i!
       n
       _D.     l'trlX N{ r\ [iz\ (l   tr   tri]   r\   tr, n, tr'l C.   ;\'['   I { ),.r- S


               l.        &tr1'   r;rce is,,\siriir.

               2.        I rv:ts Iril'ctl olt,\1-rt'ii 1,2{) l(r. hl-l'lrrr'lirrlrrllnlr.ii\                   :rrr u\lir,r.   r   u!lnr.i rri
                         I{esyrolrtlen t's c\pcc{a tir-rri s.

               3.        trn Sr:;rlcirrlrcr-2017, il r'vils srrlr.i r:c{cri trl rr l:litrrrr.r' il
                         nrlur;rg,rrrilrl position bct:ilnic al'ltilallle llrrrl ll r;;r.,
                         consiclcl':rtion, c1'cn tllougnr I hirrl (]xl)t'tss-c{l irr ti'r'r'\i
                         ctrrralifictl. \1/ilrrr I ilpproll,:hr:rl (--'lil:r'lcs tr'r-irtlr' (Lrlr-
                         :rltot:t lreilg yltssr:rl uvct'" Irt lrcl'lltttl rtit.

               4.        Lcss t1 u:llil'itll rtt.rrr-,\sillrt t'tti;tll)'ytcs, sttt'lt lr: t! :,irr:r:r ,lli rlr{)ll. \\( l
                         l)roniotc(l ilrto lrrrrnlrgrl'i;tl posilitttts rutrlrt' :;ittrilr.: , ,r., rt!r,r:rr'r'L\.
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 40 of 47 PageID #:140
 Chargc Nnmbcr: 2{)l tjL'I,'l I T8
 Complainant: I(nnrat i\,1. I)lnrirni
 Pa[e 10 of15

 XIV. A.          ISSUES/BASIS

                  FAILURtrl'X'(} tr)ii()tVn {)'t'[r]- SIit, t,iihtntnitt{ 2$17, {}[]i
                                                                                      l{r 5rlor                                                       ,,.,
                                                                                                                                                             \   1,[{t..r.,"i
                  ORIGTI{, INI}ir\.

                  f'f,tIMA Frf Cl I L r\ {,n,{t]CA't'l (}t{S

                  7.         &ly nutiorul! ol.igirl is IrrXiri.

                 2.                   xlil't'ttr.{}il 1\tr)rix 1,2{)i(r.                 Iry        prcl'trirr-rir;rrr.r :1\ :r1 r]\irr,r,r.*ir]r,r rri.l
                            {"'1"t
                            J{.cr^trtoll rlra r I's u t pt,r.{        lrl i uns.

              J.            xll Stlrtcr;llrcr' 2{}17, tr tvits strlljcr:1crl {o ll I'rrilrri (. !r) t)rrir}rr.
                                                                                                                 lrlrr.rr ri
                            teiau,gcl'iill lro-silir;, trrecilrae llr,iriialrlr lllltr I , ;r",I)],rr
                                                                                                          :,.ir,r_^ri ir{r I
                            consitlcriltiou, cl'clr lrrougtrr tr hllrl ergil-cssrrr irrrr.:.r..,,i :irr!
                                                                                                         ,r',,r-,,,*i,i,
                            tlualilictl. WIrcrl I itpPt'olttheti Clnlurlcs n,r'l'rrt,r {rr,rr-Xrrrli:r}, i,,,,,,-,.,1,
                            about Itrirrtl l):tr-serl ovu-, Ilc brr.:llrd ruc.

              rl-           Less t1 u:llil'icrl ellrltlo3,ec5 tt'lro wcre trrt{ Il.orrr llrrll:r"
                                                                                                  \1rul1 :r\ ll iurr:;;lr
                            .Iotrrnsoll, rver-e pronrolcrl ittttt ltrnlLtgrl-ilt! puriiJrrrr,.
                                                                                                     ur,tlr.r. sirrrilrrr
                            cit'c rt trrstan ces.

XV.    n.    ISS{JES/B,,\StrS

             IrAtLURlI',trO             p[ {()     [                                                       20r'/. Xlitlll                               .,];lX lil
             DEPRITSSION
                                                        I   c] 1, Xt_ S tri tvtr,xi s]    tr3   [,] tr{.                    d   1,, \r    I lrl';                        i.

      E.     tr'RIN.[r\ ]r,.\CX tri .A n, tr, triG'A't'l               O   hls

             1.          I ilnl :rn irrrlil,itlutl
                                               n,itlr I tXisubi!itr lrilliirr tlrL. Itir,.;r,lrrl rrl .i ,,cliuir                                                        I
                         103(l) ol'thc tr{rrulur tr{ip-lits Acr.

            2.          nlcsltontlrlrl            w':rs it\yllt-c          ol   nr.1,   rlisirlrililr.
            .).         I    lvas Iiir-ctl rlrr         Altril \,2.)N(r. l\'tr.r'nrrl'lirl'rrrllrir](.                 :1\      rri   ir,)l:r   (.). rirlirr(,r.rrrr         i
                        l?esptin clcn         )
                                            t )-       cxl)0c tir t i ult s.

            t.          trll SePtctrrlltl' 2()X7, n rlils r;rrltjtclcll tro :r i'liiirri, ri] ir.r,rri)lr. \l!]r,, :,
                        n;arutgc,r'ilrtr ;r,sitio* [rt'cl,,r lr'rril,lrlr *rrr]l I r r:.. 1,(,r l.ii,. t,ri iiir,,
                        ctlllside i'atitltl, clVctl tllolrgtri I lrlltl ctllrr:sst.rl irrlr,; r,rt ;1ir j rr lr, Iriglrlr
                        quatril'iertr. \\'trrclr x approacllcrl cllllrrlcr- pr.inr.t, i\,r ril,:i,rlr..:rlrrirrl Irrirr:.
                        yl:rsscrtr ovcl', itc trrrrule c! nre .


                       [,cs-s tltralii'ittl tlllplo.]'cr.\ 11itir llo lirro]\ lr llislilrliti,,,,. ,,rr,. lr :r,. X itrrrrrr.:r
                       Joltnsott, w'cl'c Ilt'oIitotctl inlo nlluulgtlrilrl 1-lorlli,rLr., l:irti.r :irrril:rr
                       circ    u   rnstanccs.
 Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 41 of 47 PageID #:141
 ChargeNrrmber:    Z)l9{_:ttlljg
 Complainant: X{rntat l\1. f)anrarri
 Page 1tr of 15



                             6.            ft1.1'   disahilitl, is         urr    r.cliitrrl 1o          !tI.\
                                           i'lrnc{ions ol'lrrl .i ob.

 xvx. A.                     ISSUES/Br\Str5i

                             F:\ll- Ultl, l'(}             Irtr{Oi\t O't'li- S.[i]f,''l'iil\,t        Ittr}i       20 [ 7.         1,{) \f i                   iliii.Ul   \
                             Btr-I'OX-AII           Utr S   () It [) t,] {i"

             r)-

                         1.             X   unr     rll     int!lvitlrrirl xith ir rlislrlrility                   11
                                        I 03(X)      ol'    1h t I ruirlrr ltights i\ct.
                                                                    tr




                        2.             Iicsltr,rrrrlrrr t rr :l s ill!      ir tr-c   ol' ni.\,   rl isa I ri{ i 1.r,.

                        .1,            I  rva.s hirctl on ,,\trtril I, Z()n (r. l\_!.r pcl.lirl.rrrrurrt
                                       llcsg;onrtrcnt's c_xJtcctlltiorr s.

                        ,4
                                       tr, Setrtter,l-lrr-2017, [ *ir)- sir,).i ectctl (o rr I.rrilrr'
                                       ntanagel'iu! ltosiliolt bcclllllt irvirilalitrt, ltrrrl                               J

                                       co,s-ittrel',1i,,, l_'1,r. lltorrgh                   I
                                                                               lrirttr e.r1tr..sst^rl i,t
                                      q*;rlilicrl. \\/lir:* n :rltXrrollclt ctl C!llir.l.s tr,l.irr r.,r.,\
                                      par-sc,tl ()r,er', lir itcl-:r1crl ntr.

                    5.                I-css-cluuliiictl cnr;;lo),crs lv,itll no Nirlr.rrlrr tlis:rliilitir'.., .,r:,.'lr
                                      Jolurt-on, 11,{.,t.e I)t-oilutr.ti into r}iillllgrl i:ri
                                                                                                                         :r,                                   i
                                                                                                 l){)\il;,   rr., r:rrrl                                   r

                                      circunrs        f   :urccs.

                    6.                hIy tlisahilifl.ir; uru.t!:ltct[ {o                            ri}\,
                                      frurctiorrs ol' rrr.i, .i ob.

XVII.   A.          trSSL]ES/BASII]

                    [rAn[,Utr?.tr]l          l'0     X,i{Ontrt-)'n'ti- tiUl},1'X,t}X              tti [ ]llt Z0 r 7-         J'(   t) Il\   rl   ,   j\,           r{}
                   FIl,,\C]-URIit} [,8 IIN' tr, Ii{ ;

        E.         n'}lltr     I\nA Xrr\C{ Ii,,\ [. [, Ii{i:\'t't            {)   tis
                   l.              n   iriil tur iittliiirlrilrl rritlr l tli:-rllrili{l                      rr
                                   103([) of tllr: Itruni:rrr ,ltiglr{r,,\r.1.

                   2.             ntcstrt,orrtlcn{ rr ls ai,r l?.r, o1                ll.\   riisrllriiit.i        .




                   3.             I rv'irs Irirctl on -,\1ri'il l,2l)\{r. i\11 pci.tri.x.
                                  nlesponrXcn t's r_tpcctlrI ions.
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 42 of 47 PageID #:142
  Charge Nrrui!re r.: 2(., ttiCt, I tTtt
  Complainant: ll{arrurt hl. .l)lrrrarri
  Fqge 12 of 15


                             .A
                                            {n scptcrrrlrrl' 2{)17, n rv;is srri;.ir:ctcrr 1u ir
                                                                                                    ruiirrr t. tru ,rr
                                            rnlultgcrial posilion !rccllnrr irr,;l!lllr!r:     :rrrr!
                                                                                          rrrl .tlli  j       \,:,,, .,' 1.,:]
                                                                                                           II ,,                                                   ,
                                            ccl'si(x('r'*ti,n, cvclr til,ugni n h^d elJrr-tss.ti
                                                                                                        irrrr.r i.rir :rr,rr

                                        Jltrsscri ovrr-, trl{: Xrcl.atcti      lnr
                            5.          [,e.ss  t;uliiX)rrl clu;tlo1,ccs ryith r]1, i(il(]wrr rll-rrlrjlitri..i^
                                                                                                                    srjL.lr iti ,l ;rrrr:rr rr
                                        'lctlallstttl, tvel-c 1lt'tlrltt.rlctl iil10 rnlltrltI1r,t.i;li 5rr;51ij,,11,, lrrirlr,r.rirrrlj;rr
                                        circ    u rt rs l   lul ccs.

                            6.         &,ny,r!isllrilil.t,is ular.clttetl              to tit-'l' ii I rili             Ir
                                       I'uncIioris ol' ltr], .iolr.                                                                                                                       t'lrL.t;ii:rl

 X\rtrXI. rt.               trssults/.!iAsrs

                        FAru,{Jn{[,             l.(]
                                       r,11{()&,t().t'ti_ s [i[,.n,[,]1\[X3Un{ .]0 I
                                                                                     7. nl,i lll il n,i J,,,1 J(),\i l{)ii
                       FXLING                  :\
                                     n)lSCtXtil\inn[JA.t.nO,ri (]trtrr\tt(;t) \\'ti'!t
                                                                                                   t11r 11.1,!:\{)1r
                       DIltAXll'hiEN't' OI,, X] U&tz\rr- tr{tGI I,n,S
          11.          PITII\.IA FACtrll r\ I X,fi(,;A.t,tr ()NS

                       I
                       I.            [rt r\1lrii 2017, ! {'ilcrl rliscrilirinatiorr clliri.lir. ij_: i)1./( ,1) .-l                                            ,
                                                                                                                1,
                                     Iil-'spontlell{ rvitlr tllc nrinois l)cP:rr-trilellt or'ilrrrr:rrr giil,.lr1., ii;1:rir,_t


                     2.              Itt Sc;;t,r:rrrllcl'2{)17, n lv.lls srrtrr.jcclctJ lri ir j-:rilur.i.it
                                    ,ta^llgc.lll Jr,:;i{i,. Ircclr,rr: lrv,irinlrlrJr: lrrit! I ,,r:r.,t).i.r)rrr,ir,.iilit.r;:r
                                    corsiclel':r{ilrrr. cl'cn trxrougrr tr irrrrr crJlrcsr.ri
                                                                                                                   irl jreri :rir\                        il

                                                                                                                         '
                                                                                                    iii,r .r,..r ;rrir, ,,.,'i,,,,i
                                    ty*alilicd. \\/lrrrr I u;;1.r-urrctrr,r:rr cllrl,-l*s nrl-i:rr,r.,. .i1r,r:r11r;                ,,
                                                                                                                      .,r,,,rr,                                                             i,,,,,,
                                    Jr:tssct!       rlvrl., trrt bcr.lllerl nlr..

                                   'tr'hc utlt,cr.s,r a{:liolr c!o:;cl},
                    --) -
                                                                                    liillotrrii lirr liliiill                           ()      ll\      rli.,l r rtttilt:tli,,tr
                                   cllarge rvitlrirr suelr:l                grrl.,ir.rrl o{'(inru rrs {o                            r   lrl'i         ilJ) tirlr,i-r,.liL.t. rrl
                                   t-cl rtlilrtot'r nroi ivlrl iotr.

){IX.   .,\.    JSSiUI'S/I}.,\SIS

                W'Rtr'n'Tllll nlniln,tt{i\lr\r \X)_,Slin,,i n.,It].iiitt                                   lti,    1017.            t)t I tt)                                        l!     \ /     I


                A.SNAhJ

        x].     PItXNIT\ iiACtr I,l . \ Lt, {,t(;,,\'tr'I ON:i

                                  I\'1.1'   l-:lcc is,,\r-i urr.

                )                 n n'rls hit'crl orr Atrrr.,il i, Z0l(r. l\1r                 I tt   t'l'o l",trt ll tt,,' t, il
                                                                                           J                                            :irr    il.,lli.,.l            I illrltt.i           tll{
                                  trtcsgtonrlcll ('s cxtrtcc{ rr(ions.
                           , .) , #:) 11 Filed: 01/08/20 Page 43 of 47 PageID #:143
Case: 1:19-cv-06901 Document
  ChargeNumber: Z0lgCfrll7ti
  Complainant: I(anrat Nj. Dirr:urni
 Pdge 13 of 15



                        3.         ori selr{crurrcr' tr8, 2017, I w,:rri is.-urti r rr r.iritr
                                                                                                             i r'l)i iltiitJt{l l)}, \:ri.ijrl
                                   Thonlils, (Jenr:i"al [],llulige r, lirr. liot c<_1r11l!tli4ri,
                                                                                                        t;r";l ,r I 1r;ti 1\ t.i.(. lt:,rilltr,,ti
                                   to *trr,l,.J.ll:lirr.ll Junrrir-lr;rr (',rirr_,\silril),"p,X,r,,,,r,,,,

                        4.        Silnilnrly, silriirtrrl riott_r\siltit etrrJllo.i,t,r,s
                                                                                          ]1 Lr.i,                                                 ri{,     j   :l   s,;rri,ri
                                  retrrri nl ll n r !   lr lr rl   ri.   s i r I ri I   al. ci l"c u lli     s   d   ll rr c r,_-.

 xx.         A.         ISS [JI|S/X]..\StrS

                        WIiXTI'ltN It[,]l,lllh'n,,\tit]-                                 SIi[,.t.tiNt            !it,]Ii pi,               lt/ j
                       NAI-]ONAI,           OXII f] trN, [N DIA.
                                                                                                                                                       ,,       l)i 11 i()                  ,ij'r
         trl
         _t).          PlttrllXA IrACtr [r] ALtr, ItCA.n.i i]NS

                       1.        l\Iy lt:ltio:ull ol.igin is trrirlia.

                       2.       I ryas trrir.c<X ori Apr.il .l ,2016.                            ]\fl.r              l.f   ol-llilur,(,
                                                                                                           Xre                             1r,;   :t    li t.t\ilr.t,'l uunri. lrtr,i
                                Itcspondclrt,s e.x;trcl u [ions.

                       3'       o, Selltclttllr:r I8, 2017, I l'ur^ issrrcrl ii *r.ill.rr
                                                                                                          r.i.1ri irir:L,rr j lrr, \:rr,rr
                                Thorn:rs, c,'cricr':1tr Nnllrlrgcr', firr.lrot c.nrllrttip13
                                                                                                     r:rrl,,
                                to ttrc h,, "1'it,tll nlt .l,lr lls,rr (1r,,_lrrrli:l), tt l,u,,,,iir,,        ,J;,;; ,0, ,,1',lrr;r,,,,,,.,
                                                                                                        .


                   !'          Siluiial"l.t' silttlt'tttl cr,llluYcl-'-s *'lr, rye r"c
                                                                                             ,r.rl lr.,rrr                                        ,o",i;r. ri
                               ll lv t'ittcri re1,-irtr,rt rr rt rrrcr. sirti i!, r. ci r-. l,ris { il r (.{,                                                 r,i         t ,ril       i:rrrr.t   j
                                                                                                        r                                    \.
XXI.   ,,\.        XSSUES/Ii..\SIS

                   \,VIiIT'I'EN {tll            !-,i{X 1\i z\      fritr)_         S     [i [,,tr.tift1tr]       iiit              ii.   l()l]
                   DXSAIIILIl'\,,,          D [l   [,[t Isis             (]]i
                                                                                                                               I                                                 i(i
                                                                    I


       ll.         PRnIWi\ I,':\CI        ti   ;\tr,tr, EGr|n,{             OtiS

                   1'         I itnr:all itltlil'ittrllllN nitlr il ttisul;ilil.1'rvilliiru [ir,-.r.t.rirriri,-,,,j
                                                                                                                    ),r,r-li,ri
                              I03(l) ol'iirc tr,lrurian ntigtrrts r\ct.

                  2.         ll.cspoltrir-,,u    t n lrs u\yilr.c ol' l:a1, rlisilbilill,.

                  3.         tr rv aslril-r:rl on Allr.il l, 2016. &[],
                                                                        1rcr.[r;l.nrirrrct,
                             llcspolitXcrr {,s crJtcctlitions.

                  !.         Orr Scpterirlr,-rr' llll, 2{}l'7. ll tr lrs ir;srrrtl lr rr l iiirl tr'r ji t;iitrl
                                                                                                                               1,., "iiti.r,,i
                             'n'llorrrlls, ('J rn ll.rrI I I un
                                                                lrgr:r-, Iot' not coilrlrlrliilll I :r        i li:r I i\ ('t (, ;rrsi,Lltti,rl
                                                                                                       '1, ",
                             fo tile bl''{'lttillll'lt .trgltri.;rllr, &lllllulge r'.
    Case: 1:19-cv-06901 Document )#: 11 Filed: 01/08/20 Page 44 of 47 PageID #:144
    Charge Ntrnrber   : lornu]nri'lru
    Complainant: Iiarrrirt NL Dlrrrnni
'   PagCI 14 of 15


                 5.            Siutilirrlt'sittiltturl      tlrrph.rS'ces }t'itlr rro 1r.{l{)}iil ril,, rrlrllilir                                       , }\r,j.(,        irr;t
                               issrtcrl l'l \';ritttrr t'c;lrirrutntl llrrtlcr siruilur cir.crri;;,tiili.t,.,

                 6.            N41' disillrilitt' is urit'clittcrl 1o nr1'                                      :rlrili{r to    i),.,i1{)r      rrr l jr,., r,\.,r.iiii:ri
                               l'lrrrcl.iulls o1' llry .j oll.

    XXII. A.     ISST]ES/I}ASIS

                 WIUTTXfN tr{trll'n{l{'rIANfl)- SllP'l'jrlhn[]]Li{ lli, l{)r ;,. 1)i L t(}                                                                               .\rl t
                 DISAXII        tr,   ['n'\"   fl] tr -   l,o   n,,,\   li.   I]i   s () n{.Dnl   I   t

          I3.    PRtrMAITr\C!{lrNtr,[,{|G.,\'tr'IONS

                 1-        I irnr arr intliyirlrrirl lt'itll rl rlis-:rillililr rlirhiu {lri,r,,,:,r,irl.r r,i r.,r,u.ri,,                                                     j

                           I03(I) ol'tlic i{rrrriau n{igh{s r\rl.

                 2.        n(esllorrtlerrt rlasi]lylu-eo1'lllv'tlis;rlrililt,.

                3.         tr rvas hit'cttr orl r\;rt'il tr,21)l(r. NIr'
                                                                                                          llrr-lix'lnulr('r   :1',   :rrr r     i)r.,   rr.i   j1r!rr'i. rlri.r
                           tr{esyrolrticn l's erpcc{lrtions.

                4-         Otl Scptrt'rilXlcr 1ti, 2()17, I wlls issrrrr! :l rr l'il{L.rr r r.1;] rrrrrrrl lr.\ ,.\irr.r,;,                ,i
                           "{'llotil:ls, Ccrrcrlrl N'{itnltgcr'. {ilr lrol cortrlrlt,iiri,.S l:i,, 1,. ilr:tl
                                                                                                              r.,t.r r.:trrif rrt.ri
                           Io nle Il1''['rlr]litr":] .lo!ulsori, IX:rnllgcr-.

                5.        Sirrlilarl3' r-iltullctl cllrplt;t'ces *'illr rlo trirroirri rli,;ri,lj,lj,,,. \!rlrL, i.)l
                          issrrccl ir rvl'lttcn rt';;r'l'reirrtrr! erntlcr silniilrr ril'crrurr., l:rrrr,i..;-

                6.        N'nf tlisalrilit-r is ttnl'etratrrri to in.\' rilli!i1r {o                                           !rL,!.j   iirrr rli'             r,rrt,rrli;rl
                          l'ullclions oi' ln1, .i ob.

    X,YXII.A.   ISS{.]ES/{3ASIS

                WItnl"fItN [tlll'[{lhlz\litr)- Sli[,i'lihil[]lii{ tii. lr}1,' t)r 1 l() }t\
                DlsABU,['tr'1"             tr,'R,\( ]'t'tJtrUi[) Lnitr'[' n,tri](;

         B.     PfttrN'nr\ trlr\Clhl r\n,[.[']( Jr\'tr'[(]]iSi

                1.        trlttti lttt intliyitlillrl rritlr rr tlisllliili{.t lrillrin ilrr r)ii rrlrl:,,1',,.'lioir                                                      1




                          1{)3(l) o1' thr nl rrrlrln n{igh1s r\ct.

                2.        trtcsyrollrlclrl ryls lt\liir'{j otr'rrr.}'tl islrl>il,i                            1r'.


                3.        I tv'lls trril'ctl orr,.^\ltt'il l, ]{)](r. i\lll lltrlir:'r,rlrlncr'ir' ., r ,i,r i'i ;, irrrr'i rrr
                          ntcspon t!ctr{'s     cllttc{ rrtions.
                       ri,,i '')#: 11 Filed: 01/08/20 Page 45 of 47 PageID #:145
Case: 1:19-cv-06901 Document
 Charge   Nttnrbet': 20lticltl             l7E
 Co5nplainant: I(irrnut h,i. I)lrnani
 I'age 15 of 15

                 .4
                           On Septcltrllel'n8,2017,                             tr   llils issurrl ir rrr.illlar                tr'l,l'iilt:tiiii  lr.t .\ili r,lt
                           '-['homils, (l cncraI h lu;lgr":i-, lirr. ri oI corrrl:lr
                                                                        tr                              t i rr 1,. { ; r        ,1.', Ilt:rt 1rr,? (,:t\\i!ltr.,ll
                           to rtre lr.1"i'tlnlrrlr .iohnson, 1\,llrnllurr..

                 5.        Sileril:rrlt' silrullcrl eurplo3,r,g.5 n,i{lr no lirrurrrr rlr.r:lrilirir.,"                                            ,,}(.i{
                           -is-slle(l zl H'r'i1trcn l'c1;r'ilirirrrrl untlcl'sinrilirl cir.t'ruir.,i:rji.r..,

                5.         N'I.y'tlisuhilitl is urrrclrrlrrl Xu nr1,illrililr
                           I'tr   llcl iolrs     o1' nl-1,   .i   ol   r.



XXIV. A.        I SS   IJIlS/[}.,\S    I   S


                Wltll'TI,lN lllil)t(nl\Iz\ND- SEn)'['[ilUUtltt I ti, Z0l -/, N;'i tl I I ", ll,{ 'i I i{)ii J tiii
                ITILING .,\ [)lSCt{trj\IIF,IA'['lOI\ (]tr!AIi(1fl \,,i, I rt ll ,r,li li il il . ! .1 ).r,i r l'",                       X

                tr)EI'Atrt'flNX      IN',t' Onr n { uru,tAN                  [].! G[   [',d''S


        11.     l'}IltrN'X,\ nrr\C[ [1,\ l, [,n,lGA'f,'n ( ] r\- S

                1.         lrr ;\11'il 2fi17, X X'ilerl rliscriluiurrtiori chirr.llt                              r, : \)ll('il.'_!t)-ll :rgrir;ri
                           Rcs;:onrlclr{ w'itll thc trlliilois tr)r;xrrtrnclr'{                       o1' !   luril:,,r !iig}rrr-

               2.         On Scptcr:rbtl'Iti,2t)I7, tr ll';ls issueti lr nr-itiuir i'trt'itir:irrLl lrt,\ir!',,11          rr


                          '-!'honlt s, (i t-ll e rlr l Nl u ir lr gcl., {-ot- ll rll conr;r l r1 i l.r { : r r ! '., i llti yt ('t'('
                                                                                                      1t                              its5i:.,1r{,{l
                          to ntc Ily'1":rnllll':r .]ohnsoli, S'trull;rgcl..

               -J.        ']'llc :ldvcrsc nc(ion closrlt' lbllo*ct! {llt Il!iiil                                      r,l ir).\ l1l., i irrriil:ilil:r
                          clrarge ri'itllitr slrclr ir llcriottr ol' {irtrr :rs {o                                   r:r .". :li. l,riii(.tl{(       ,,1
                          re{ilIitt     ur'.1'    nro1iyiltior.r.
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 46 of 47 PageID #:146

         F   rl,lxc Surr lN Courd'r' otr ComllE'l'riN't'                                              .[ t t!l        r



 Pzur'arE Sutr       lllcurs
 TheissuanceofthisNoticeoJ'ItiglrttoStre or1)rsrrrrs.ralutrdl\totit'eo.fliiyltt.: rLrLlrrlr,.. lii.rr' j)1r)Lc\\.,,.rrlr
 respect to your Charge. Yott may [llt-r tt latvsLtit against thc Responclcnt rvithirr r)(i r.l.ri> iir]rrr rtr! (li1tc \,r),r
 receive this Notice. 'fherelitre, y'ou sltoLtld kecp a record o1-the date. C)ncc tlrc ()() r1.Li, lr.r ii,,i r., ()\ rrr \,, Lrl
 rightto sue is lost. If yoLr intencl ttt ttot'tsttlt iin attoflley, yor"r shoLrld rlo so iis s()()li11\ yrrr.lril,lr. !.lrrl]rg.rrr,,t,_.. irr
 ordertoavoidanyqtrestior-rtltatyoLrdidnotactinatirnel_yulr,inn€r,i1-yLrLrirircn,l t,,..1r.,,'ir \,rr ()\\,r, t,,tL.rli
 your suit should be filecl rvell in aclvance o1'the cxpiration o1'the 90 rlay pcri,r,1

 Youmayfileyourlau,suititritcr.iurlo1'cotrpetentjurisdicrtirrrr. lrilingthisNotii..i,,rr,rt :;rr1il\'r(.rrt.Af irrr
 complaintmustcontainashortStatetttetttol'thullictsttlyourcasew'hiclrslrt,rr.stltrr r,, rrr:rrr.r.rrlitle,l r,r,,,lii.l
 Generally, suits are brought in the State tvltere tlre allegcd trnlari'fitl practiuc ()Lr'uJr.rl. lrrrr ir ..r,rrlr u1\(.r (.111
 bebroughtrvhererelevantetrtployntetttrccordsarekcpt,tvlrcrcthccnrplriyrr(rl \\\,,rl,i irrrr, l,..,.rr.or \rl,.,rt-
 the Respondent has its main ofllcc.

 You may contact tlre ]IEOC if you have arty rltrcstions aboLtt ytrLrr rig.lrts, irre ILrriirrr .r\i\ rr \' ,,rr           r.,   liie li r'i)i1r L.rir
 hear your case, or if yotr need to inspcct antl cropy inlbnriat ion crontairr cri ir i {lri t rr.,.. l r lr-

 ITTUEFIRSTTIIREECIIAII,\CTI:I{S0F',\',()tll{liEOL'C'll.\t{GtiNLlNllilllt.\Rl]"]lt.l".r.^-rr\r]r,ti( il\k(il_\\r.,
 IN\|ESTIG-{TEDIlYTIIEILt,lNolSDlll'AI{lIlI:NTorIlunr;lulltt;ttr-s(ll)llli),1(t,(.,t t}, I t(}nt(!\ll.\\t\(. \\t}
 COPYIn*C DOCUNIIN'tS t'-RO]l YOtIlt ill.E I\ltlSl-titl DlltI:("l lll)'l'(l ll)llt{.


A ]arvsuit against        a private entploy'.-r is llcneralll,    lllcd in tlrc [].S. l)istrie:t ('oLr   l



A Iar.vsuit under Title VII of the Civil liights Act ol19(r:1, as arrrencleri, rur,ujrr:;t               ;r )il .r,
subdivision of the State is also generally filerl in the LI.S. I)istnct (lorrrr.

However, a larvsr.rit r,rnder the Age.l)iscrintitration in llrriployruent o{'tlic Aur,'r-ir'rir ,,,"irlr I )r:r,l,ririiu> ,\ui ,,r
probably,theEclualPayActagairtstaStlrte instruttttcrrttnlity(aurrrrllcytlrrcctl r,iLrL ,1,,1 rrrr,lrLrrriirrllrttir. ii,r
State) can oniy be filed in a State cottrt.

A larvsr"rit under the Age Discrirtrination in ltrrtplclynrci'tt Act or tlic Arnerie riri \\, rllr l ),:;rl,rlitr'.,,, \ct rrr llr,
Eqr.ralPayActagainstapolitical sLrbclivisiono1'aState,strc:lt asruLrnicip:rlili("rrrr(1 .,,1:r riL.. i,r,r!'I)i. lll,,l                         irr
the U.S. District Court.

For a list of the U.S. District CorLrts, ltlcase sec thrl Icvl"rsc si(lc.

ATT o Ri\E Y    lle rn c s c n r' :!'l- I o'r-

If you Cannot aflord att atlorney, ot lltt'c lrcctt rutirlrlc tt-r otrtirirr iln  i]t1()llic-y ll rul' . .. : \i,i.r L .L . rrLrl l,.r,r,r.r.,
jurisdiction in your case lr.lrv assisL t't.,rt trr otttaittirtg 1',11,yt'r. ll'voLr plltrt io lisl' il i r)llrL Lrr lr,.lr) \()r ()l,r rrr
                                                                ',
a la."vyer, yoll must rnake tl-ris rcclucsl olthe cotrrt in the lornr iltti rt-titttttcr i1 tc,lLrrrt , \'r)r r r, ilLr!-il t(r 1lr.
courtshouldbemaderr,ell inaclr.'attceof the90tliylteriodtttentiotrctl iihtivc.A r(',irr.', r,,I r 1,, \!'{rtirtr,,i
                                       lile a llnvsuit rl'itlrin tlre 90-tla_y perir,.1
does not relieve you o1'the obligation to

DESTIiUCTION OF I'iILE

If you fi]e suit, you or your attotley slroultl lbr*'urtl a c()p)'ol yr-ritr c()Ltri e()rtll)l,rtrr i,r l! r',,, I . \'LrLr, iri.
will then be preserved. Unless you have notillecl us tltat 1'ttLt liave irletl sLrit, -vt)trr ( lr.tt'r't' itii' ., ,Lrlti l;'i'
destroyed as early as six months alicr the dale of ilie Notice o1'l1i glrt ttt                SLtc.


Irl'oUFILE       SUITT YOU OR YOUI{.{,t'.fOIiNtlY SIIOL[-I) N"Ol-ll-\"1-lllS Ol.-lrlt'l;]         \\lll \ itll I \\\ \M          l\ lll \()l \ l t,
Case: 1:19-cv-06901 Document #: 11 Filed: 01/08/20 Page 47 of 47 PageID #:147
               tt*Lj
                 ta*-|1r5'




                                                                                                                                                                                         L).:
                                                                                                                                                                                            ,,I

                                                                                                                                                                                                           l-.r

        i'.i {f 'J.'ic-ll if F il]5{:Liil'l 'Jl{1" i11i-l li'l'::



              Palries lo a;.l Ei:(-)'-),-iili3r 2rrs ritliii.,J i,-r;ii'i;,,,,'irit,i i;fr:,:i;r                                                  .


              irr.,,esiigalive iil,:. F-:'.lL::sis rrt',iii b: tlr:le i,i ',',riiir-i-l 1r, l',-r'l', r;r ii
              abci,e, f ar:e ci t,.., (312) 5lj8-12,i0 c.i- seiti','ln iiliril ic llllj1ljii-iL:: r: .                                                                           .',|                                     I 'r
                                                                                                                                                                                                                           :

                                                                                                                                                                                                                                 '       l- rll:l

              n.r dttcli;-if; fii.li!fsis). Bc.sttr't ltt itti'ltirlp lL'ttr ititt)1:-', tr:l;lr, ,t, i ;                                             ,                      t   i   !      -1:
                                                                                                                                                                                                     t.. t t    i,,        i.Lt1;1i-,1        1.t.y1

              willt i'qttr reotresJ

              If 1.'cLr i:it ilie             L-i::r-'-iirru    l'aii,r'itrJ          r, l-"1ii l'l    i
                                                                                                                                                                             r       -,ii                  ,j         '              -        i     I




              fi l;:


                                  _tjijqfs_t!1gjllfrlsrrit. but rvilhin                          9i) drr-r's       oi lotl     i'rrc.il)tr i Ii
                                  ,!l!.rrrour l:1ryUil_l1!i!_!j-ll_f1l-t(. Iltttt.rrr'tlt;:tr !Ji) Ll:l.r lr:t ,r ,1. r'r"lr' | -,illll lr.,,,                                                                            i,,)-!i,.
                                  Sue , incJud': ''vi(lt t'L;ur i-rquest l eDp-\ tif ttre rillir'- t,,tr { , ,,r.rl,)i ,, i:r lllr r,'uirrI                                                                                i'lilll!.1
                                  nunrbe r) or e'nouqh p!gei to deterl-.inr lrh:thtr it uirs lllr',1 l,r,r,-,1 orr rl I il()('rilrr,.

             1f 1'cit lrre tire             ?teswtrl{ll)'oll             tll:iY        bl   u;"liiir.-.i       ii'jlijs,.,      11,.-   1;l: r'rr./           r lr       l           i      l,                            rl
             ',.,'itlr )'oli;- reqiiS.;t a cLril)'of               ille eilt!rc          c',.rl.irl   colllirlllirri tiiirl ilr'         I't,1.',, ,      ,
                                                                                                                                                                     I




             F'rii-sttat:.1          tu i,:ri:;lll :i:lL'r'::, ,-':i i'l iir Li .).l1lli'rlli:                       :il'.rl
             pi,fac;s.                 li ri'-ri l-r; dililr.;;:11 t,t riri,;t i-,-lri-',.
                                  ',','i

             't'[,t.t l-ir,-l;: .,ii.,t i,li Al.i:;iilclii           9i ;'']' ,1;'.i::;l'-r.iltl,. i'':Jol'i
             fC \',iti lrft=r receir,,i i': ''-,llr r',rii:';;i l;llLi:ii.                        (l,ii,iLll:
             n:li i i r g i ri','t : t i 3 a l :'": i t i.rl:'tt l; t l,rr: I li t' I i.:. )
                     l-.:                                  r1                    ;,




             'fli:          F,i,,':,::.,   iti,'ii.,-:.j   1.j   tii.,'il l:   i',    lll i,;-ll,r         tr r 1,,1':i lirl

             \t,'li;ir ij:r fil; b:e'-,rli--; a',ril.l!;ie ir'il=,'ic',,. ' -''': ''''ii' i'''                                                                                               ,1,
             ar,i!o: fiit,.ii:;i ilt'.:t4 t:,t,:'.. 'riil.: ilJ:1:::ii, i'.1 r,.r;r. ]:ii                                                                                                        I




             YoLir ili.. ri , ji L.: ,.r,ti;i:'-J b'r' .iiiri,'.r 1)iir; i L,'i.L'r,,;J, i L'i: .1: .- r '
             &1i LErtaiii"-ili r,i [.':ii.' i]l:jt ci,rii'l ir-'il;rr' tllr ;ii:: ir lll i": '
             rgr,r-mr4ffdi-'l 1]1..1-''i-r'Li ilrli ri'';it',', ',r,rff-l-lLil t.i il;l!'rlili'r'i
             EL.oC.,',illnot:.c..''i;,..'rniiljj1:iiDio\ir.]:i:ci-,il;.li1iitil:r].::,:.',.,.'
             ..^r,,
              ! J':'.
                      -,ii=
                      !     ;! 1,.iii ir- r-rr'iii i!:, 11!iiii'r'io li;: r-'/-\il ,'::il,i-,,     . r,--r'.,.,1 .::iil i
                                                                                                                          -t-,,:.,j:
             PZ,.,,rtz.tr-iiiiljt b:   ri::rr: riir:,-il;,'lu Allhr:1't'i r:i {-l;'orlii. \,ilr.:i,, r, ,        r " i I '.j 1;.                                                                       1
